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   9LUJLQLD+HZRUNVDVDODQGVFDSHU2Q$XJXVW0DUWLQZDVSHDFHIXOO\SURWHVWLQJWKH8QLWH

   WKH5LJKW³UDOO\´+HZDVVWUXFNE\'HIHQGDQW)LHOGVZKRGURYHKLVFDULQWRDFURZGRI

   SURWHVWRUVLQDQDFWRIGRPHVWLFWHUURULVP0DUWLQSXVKHGKLVILDQFpHRXWRIWKHZD\RIWKH

   VSHHGLQJFDUEXWKHZDVVHYHUHO\LQMXUHGE\WKHDWWDFNLQFOXGLQJVXVWDLQLQJDEURNHQOHJDQG

   DQNOHWKDWUHTXLUHGVXUJHU\+HFRQWLQXHVWRVXIIHUVHYHUHHPRWLRQDOGLVWUHVVDVDUHVXOWRI

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   VXUURXQGHGE\WRUFKEHDULQJQHR1D]LVDQGZKLWHVXSUHPDFLVWVDWWKH5RWXQGD2Q$XJXVW

   5RPHURSHDFHIXOO\SURWHVWHG'HIHQGDQWV¶SODQQHGHYHQW5RPHURZDVRQ)RXUWK6WUHHWZKHQ

   'HIHQGDQW)LHOGVLQWHQWLRQDOO\GURYHDFDULQWRWKHFURZGRISURWHVWRUVLQDQDFWRIGRPHVWLF

   WHUURULVP5RPHURZDVVWUXFNE\WKHYHKLFOHGULYHQE\)LHOGVDQGVXVWDLQHGPDQ\LQMXULHV7KH

   FDUNQRFNHGKHUXQFRQVFLRXVIUDFWXULQJKHUVNXOODQGOHDYLQJKHUZLWKDFRQFXVVLRQ7KHFDU

   DOVRIUDFWXUHGWKHURRWRIRQHWRRWKDQGOHIWVHYHUHFRQWXVLRQVDFURVVKHUERG\5RPHUR

   FRQWLQXHVWRVXIIHUYHUWLJRDQGGHELOLWDWLQJKHDGDFKHV,WLVXQFOHDUZKHQ5RPHUR¶VV\PSWRPV

   ZLOOVXEVLGH,QDGGLWLRQWRKHUSK\VLFDOLQMXULHV5RPHURDOVRVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVV

   DVDUHVXOWRIWKHSODQQHGHYHQWDQGWHUURULVWDWWDFNRQ$XJXVWDQGKDVIHDUHGUHWXUQLQJWRWKH

   89$FDPSXV$VDUHVXOWRIKHUSK\VLFDODQGHPRWLRQDOWUDXPD5RPHURKDVDOUHDG\PLVVHGD

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   FULVLVFRXQVHORUIRUWKHKRPHOHVVDQGPHQWDOO\LOO2Q$XJXVW$OYDUDGRSHDFHIXOO\SURWHVWHG

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   )RXUWK6WUHHWLQWRDFURZGRISURWHVWRUV6KHQDUURZO\PLVVHGEHLQJKLWDJDLQE\)LHOGVZKHQKH

   GURYHKLVFDUEDFNZDUGVXSWKHVWUHHW7KHFDUNQRFNHG$OYDUDGRWRWKHJURXQGFDXVLQJKHUWR

   VXIIHUVHULRXVLQMXULHVLQFOXGLQJDFRQFXVVLRQDQGVHYHUHFRQWXVLRQVRQKHUOHJV$OYDUDGR

   FRQWLQXHVWRH[SHULHQFHVLGHHIIHFWVRIWKHFRQFXVVLRQLQFOXGLQJFRQIXVLRQIRUJHWIXOQHVVDQG

   GLIILFXOW\SURFHVVLQJQRUPDOFRQYHUVDWLRQV$OYDUDGRKDVDOVRVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVV

   DVDUHVXOWRIWKH$XJXVWHYHQWV

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   $UHVLGHQWRI&KDUORWWHVYLOOH9LUJLQLD.HVVOHUXVHVWKHKDQGOH³0DG'LPHQVLRQ´RQ'LVFRUGDQG

   #7KHB0DG'LPHQVLRQRQ7ZLWWHU7RJHWKHUZLWK'HIHQGDQW0RVOH\.HVVOHUOHGWKHRUJDQL]LQJ

   HIIRUWVIRUWKH8QLWHWKH5LJKW³UDOO\´LQ&KDUORWWHVYLOOH.HVVOHULVDOVRWKHSUHVLGHQWDQG

   IRXQGHURI8QLW\DQG6HFXULW\IRU$PHULFDDJUDVVURRWVRUJDQL]DWLRQWKDWFODLPVLWLVGHGLFDWHG

   WR³GHIHQGLQJ:HVWHUQFLYLOL]DWLRQ´DQGLVDFRQWULEXWRUWRZHEVLWHVOLNH9'DUHFRPD

   [HQRSKRELFQDWLYLVWSXEOLFDWLRQDQGWKH'DLO\&DOOHUDFRQVHUYDWLYHQHZVRXWOHW.HVVOHUZDV

   WKHOHDGRUJDQL]HUIRUWKH8QLWHWKH5LJKW³UDOO\´DQGZDVRQHRIWKHQDPHVIHDWXUHGRQD

   SURPRWLRQDOSRVWHUIRUWKH³UDOO\´,Q-DQXDU\.HVVOHUDWWDFNHGDPDQLQGRZQWRZQ

   &KDUORWWHVYLOOHZKLOHFROOHFWLQJVLJQDWXUHVIRUKLVSHWLWLRQWRUHPRYHWKH$IULFDQ$PHULFDQYLFH

   PD\RU:HV%HOODP\IURPWKH&KDUORWWHVYLOOH&LW\&RXQFLO,Q$SULO.HVVOHUSOHDGHGJXLOW\WR

   DPLVGHPHDQRUFKDUJHIRUWKHDVVDXOWDQGZDVWKHQFKDUJHGZLWKIHORQ\SHUMXU\IRUO\LQJWRWKH

   SROLFHLQFRQQHFWLRQZLWKWKHDVVDXOW

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   DWWHQGHG89$LVWKHKHDGRIWKHZKLWHQDWLRQDOLVW³WKLQNWDQN´1DWLRQDO3ROLF\,QVWLWXWH,Q

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   WRDFWLQIXUWKHUDQFHRIKLVLGHRORJ\FDOOLQJIRUDQ³HWKQLFFOHDQVLQJ´6SHQFHUSODQQHGDQGOHG

   WKHYLROHQWWRUFKOLJKWUDOO\DWKLVDOPDPDWHURQ)ULGD\HYHQLQJ6SHQFHUDFWLYHO\SURPRWHGWKH

   8QLWHWKH5LJKW³UDOO\´RQ6DWXUGD\WRKLVQXPHURXVIROORZHUVRQVRFLDOPHGLDDQGHQFRXUDJHG

   DQGLQFLWHGLQWLPLGDWLRQDQGYLROHQFHEDVHGRQUDFLDOUHOLJLRXVDQGHWKQLFDQLPRVLW\

                  'HIHQGDQW&KULVWRSKHU&DQWZHOOLVDUHVLGHQWRI1HZ+DPSVKLUHDQGLVDZKLWH

   QDWLRQDOLVWDQGDVHOISURFODLPHGIDVFLVW+HKRVWV³5DGLFDO$JHQGD´DSRGFDVWDQG<RX7XEH

   VKRZVWUHDPHGOLYHPXOWLSOHWLPHVDZHHNDQGUXQVWKHZHEVLWHFKULVWRSKHUFDQWZHOOFRP

   &DQWZHOOKDVVWDWHGWKDWRQFHKH³UHDOL]HGWKDW>-HZLVKSHRSOH@ZHUHUHVSRQVLEOHIRUWKH

   FRPPXQLVP´KHGHFLGHG³OHW¶VIXFNLQJJDVWKHNLNHVDQGKDYHDUDFHZDU´+HKDVZULWWHQ³,

   WKLQNFKHPLFDODQGELRORJLFDOZHDSRQVFDQGRDJUHDWGHDORIJRRGIRUPDQNLQG5HOHDVLQJ

   QHUYHJDVRUVRPHNLQGRIOHWKDOYLUXVLQWRDOHIWZLQJSURWHVWFRXOGSUHSDUHWKHERGLHVIRU

   SK\VLFDOUHPRYDOZLWKRXWPDNLQJDELJVFHQHIRUWKHFDPHUDVRUGHVWUR\LQJDQ\WKLQJRIYDOXH´

   ,QFRQQHFWLRQZLWKWKH8QLWHWKH5LJKW³UDOO\´LQ&KDUORWWHVYLOOHRQ$XJXVWDQG&DQWZHOO

   ZDVFKDUJHGZLWKWZRIHORQ\FRXQWVRILOOHJDOXVHRIWHDUJDVDQGRQHIHORQ\FRXQWRIPDOLFLRXV

   ERG\LQMXU\E\PHDQVRIDFDXVWLFVXEVWDQFH+HZDVLQGLFWHGRQ'HFHPEHURQDIHORQ\FKDUJH

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   9DQJXDUG$PHULFD0RWLYDWHGE\UDFLDOUHOLJLRXVDQGHWKQLFDQLPRVLW\DQGLQIXUWKHUDQFHRI

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   D'RGJH&KDOOHQJHULQWRDFURZGRISURWHVWHUVLQMXULQJGR]HQVDQGNLOOLQJD\HDUROGZRPDQ

   +HDWKHU+H\HU2Q'HFHPEHUKHZDVLQGLFWHGRQRQHFRXQWRIILUVWGHJUHHPXUGHUWKUHH

   FRXQWVRIPDOLFLRXVZRXQGLQJWKUHHFRXQWVRIDJJUDYDWHGPDOLFLRXVZRXQGLQJWZRFRXQWVRI

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   9LUJLQLD&RGH0HPEHUVRI9DQJXDUG$PHULFDYROXQWDULO\MRLQIRUWKHFRPPRQ

   SXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGEHOLHYHWKDWSHRSOHZLWK³ZKLWHEORRG´KDYHD

   VSHFLDOERQGZLWK³$PHULFDQVRLO´,WZDVIRUPHGLQ&DOLIRUQLDLQDQGLVFRPSULVHGRI

   WZHOYHFKDSWHUVDFURVVWKHFRXQWU\7KHJURXS¶VZHEVLWHVWDWHVWKDWWRMRLQWKHJURXSDSHUVRQ

   PXVWEH³RIDWOHDVWZKLWH(XURSHDQKHULWDJH´'HIHQGDQW)LHOGVLVDPHPEHURI'HIHQGDQW

   9DQJXDUG$PHULFDKHZRUHWKHLUXQLIRUPDQGFDUULHGD9DQJXDUG$PHULFDVKLHOGDWWKH8QLWH

   WKH5LJKWHYHQWRQ$XJXVW

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   'DLO\6WRUPHU²DQRUJDQL]DWLRQWKDWRSHUDWHVWKURXJKDZHEVLWHWKDW$QJOLQSXEOLVKHV'DLO\

   6WRUPHUKDVFDOOHGLWVZHEVLWHWKH³ZRUOG¶VPRVWJHQRFLGDO´ZHEVLWH'DLO\6WRUPHUZDVQDPHG

   DIWHU'HU6WUPHUD1D]LSURSDJDQGDWDEORLGNQRZQIRUYLUXOHQWO\DQWL6HPLWLFFDULFDWXUHVDQG

   SXEOLVKHGE\-XOLXV6WUHLFKHUZKRZDVODWHUFRQYLFWHGRIFULPHVDJDLQVWKXPDQLW\DW1XUHPEHUJ

   8QWLOUHFHQWO\'DLO\6WRUPHUKDGDZHEVLWHDWZZZGDLO\VWRUPHUFRP$QJOLQDQGKLVDVVRFLDWHV

   DW'DLO\6WRUPHULQFOXGLQJ'HIHQGDQW5REHUW³$]]PDGRU´5D\XVH'DLO\6WRUPHU³DVD

   KDUGFRUHIURQWIRUWKHFRQYHUVLRQRIPDVVHVLQWRDSURZKLWH$QWL6HPLWLFLGHRORJ\´WR³VHOO>@

   JOREDOZKLWHVXSUHPDF\´DQGWR³PDNHDUDFLVWDUP\´7KHZHEVLWHZKLFKEHFDPHWKHPRVW

   YLVLWHGKDWHVLWHRQWKH,QWHUQHWLQLQFOXGHVVHFWLRQVHQWLWOHG³-HZLVK3UREOHP´DQG³5DFH

   :DU´7KH&KLHI7HFKQLFDO2IILFHURI'DLO\6WRUPHUKDVSRVLWHGWKDW'DLO\6WRUPHU³KDVEHHQ

   HIIHFWLYHDWZKDW>LWLV@GRLQJ´E\³WKHPDQLIHVWDWLRQRIRXUSHRSOHRQWKHJURXQGLQWKHUHDO

   ZRUOG´)ROORZHUVRI$QJOLQDQG'DLO\6WRUPHUZKRFDOOWKHPVHOYHV³6WRUPHUV´FRPPXQLFDWH

   RQWKHZHEVLWH¶VIRUXPZKLFKLVPRGHUDWHGE\$QJOLQDQGDFFHVVLEOHRQO\ZLWKDVSHFLDO³GDUN

   ZHE´WRUEURZVHU2Q$QJOLQ¶VRUGHUVDQGXQGHUKLVFRQWLQXLQJVXSHUYLVLRQ6WRUPHUVKDYH

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   ³FKDOOHQJHV´LVVXHGE\$QJOLQ'DLO\6WRUPHUHVWDEOLVKHG³PHHWXSV´DQGFKDWURRPVWKDWFR

   FRQVSLUDWRUVDQGDWWHQGHHVXVHGWKURXJKRXWWKH$XJXVWDQGZHHNHQGWRFRRUGLQDWHWKHLU

   YLROHQFH7KH'DLO\6WRUPHUUHOHDVHGLWVRZQSRVWHUSURPRWLQJWKH³UDOO\´WKDWUHDG³81,7(

   7+(5,*+7-RLQ$]]PDGRUDQGWKH'DLO\6WRUPHUWRHQG-HZLVKLQIOXHQFHLQ$PHULFD´

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   EHIRUHWKH8QLWHWKH5LJKWHYHQWVRQ$XJXVWDQG$QJOLQRUJDQL]HGKLVIROORZHUVWRDWWHQG

   DQGSUHSDUHGWKHPWRFRPPLWUDFLDOO\PRWLYDWHGYLROHQWDFWVLQ&KDUORWWHVYLOOH$OWKRXJK$QJOLQ

   GLGQRWDWWHQGWKHUDOO\KLPVHOIEHFDXVHKHLVFXUUHQWO\LQKLGLQJWRHYDGHVHUYLFHLQFRQQHFWLRQ

   ZLWKDVHSDUDWHODZVXLWUHODWLQJWRHYHQWVLQ:KLWHILVK0RQWDQD$QJOLQRUFKHVWUDWHGWKH

   PRYHPHQWVRI'DLO\6WRUPHUIROORZHUVDQGLQFLWHGWKHPWRYLROHQFHRQDOLYHIHHGWKDWVWUHDPHG

   FRQWHPSRUDQHRXVO\ZLWKWKHHYHQWVDVWKH\RFFXUUHGRQ$XJXVWDQGLQ&KDUORWWHVYLOOH

   0RUHRYHU$QJOLQXVHVWKH'DLO\6WRUPHUWRHQWLFHKLVIROORZHUVWRKDUDVVDQGLQWLPLGDWH

   ³-HZIHPLQLVWHWF´LQGLYLGXDOVE\PDQGDWLQJLQLWV³VW\OHJXLGH´WKDWWKHDXWKRUVDOZD\VLQFOXGH

   WKHWDUJHWHGLQGLYLGXDOV¶VRFLDOPHGLDDFFRXQWVEHFDXVH³>Z@H¶YHJRWWHQSUHVVDWWHQWLRQEHIRUH

   ZKHQ,GLGQ¶WHYHQFDOOIRUVRPHRQHWREHWUROOHGEXWMXVWOLQNHGWKHPDQGSHRSOHZHQWDQGGLG

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   \RXUFUHGLWFDUGELOOEXWZLOOLQVWHDGVD\µ0RRQEDVH+ROGLQJV¶ZKLFKHLWKHUVRXQGVOLNHDKREE\

   VKRSRUDPXOWLOHYHOPDUNHWLQJVFKHPHUXQE\UHSWRLGV$Q\ZD\LWORRNVLQQRFXRXVRQ\RXU

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   ZULWHUIRU'DLO\6WRUPHU¶VZHEVLWH+HKDVKHOGKLPVHOIRXWDVDUHSUHVHQWDWLYHRI'DLO\6WRUPHU

   DQGVHUYHGDVDQDJHQWRI'DLO\6WRUPHULQRUJDQL]LQJWKH8QLWHWKH5LJKWHYHQWV+HLVWKH

   OHDGHURIWKH³'DOODV)RUW:RUWK6WRUPHU%RRN&OXE´ZKLFKLVRQHRIPDQ\ORFDO'DLO\6WRUPHU

   JURXSVDFURVVWKHFRXQWU\,QKLVDUWLFOHVSXEOLVKHGRQ'DLO\6WRUPHU¶VZHEVLWH5D\HQFRXUDJHG

   H[WUHPLVWVWRDWWHQGWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQGDQGLQFLWHGWKHPWR

   YLROHQFH5D\DWWHQGHGWKH³UDOO\´KLPVHOIDQGKDGDSODQQLQJPHHWLQJZLWKFHUWDLQRWKHU

   'HIHQGDQWVLQ&KDUORWWHVYLOOHRQ$XJXVW

                  'HIHQGDQW1DWKDQ'DPLJRDUHVLGHQWRI&DOLIRUQLDLVDZKLWHQDWLRQDOLVWDQGWKH

   IRXQGHURIDZKLWHVXSUHPDFLVWRUJDQL]DWLRQ'HIHQGDQW,GHQWLW\(YURSD'HIHQGDQW'DPLJRZDV

   DUUHVWHGRQ$SULOIRUDVVDXOWLQJDZRPDQDWWKH³%DWWOHIRU%HUNHOH\´UDOO\ZKLFK

   'DPLJRGHVFULEHGDVDWHVWUXQIRUWKH³UDOOLHV´LQ&KDUORWWHVYLOOH'HIHQGDQW6SHQFHUKDVVWDWHG

   WKDW'DPLJRDQGKLVJURXS,GHQWLW\(YURSDWRRNWKHOHDGLQRUJDQL]LQJZKLWHVXSUHPDFLVW

   SDUWLFLSDWLRQDPRQJSHRSOHIURPRXWVLGH&KDUORWWHVYLOOHLQFRQQHFWLRQZLWKWKHHYHQWVRQ$XJXVW

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   DQGZDVWKHOHDGHURI,GHQWLW\(YURSDIURP$XJXVWWR1RYHPEHU+HLVDOVRDFRIRXQGHU

   ZLWK'HIHQGDQW5LFKDUG6SHQFHURI2SHUDWLRQ+RPHODQGDQHZRUJDQL]DWLRQWKDWDLPVWRWDNH

   ZKLWHQDWLRQDOLVWDFWLYLVP³WRWKHQH[WOHYHO´+HKDVGHVFULEHGKLPVHOIDVWKH³FRPPDQGVROGLHU

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   PDMRURIWKHµDOWULJKW¶´DQGDVWKHRUJDQL]HURIWKH8QLWHWKH5LJKW³UDOO\´2QFHUWDLQVRFLDO

   PHGLDQHWZRUNV0RVOH\KDVXVHGWKHKDQGOHV#1RW(OL0RVOH\DQG#7KDW(OL0RVOH\0RVOH\

   ZDVRQHRIWKHNH\ILJXUHVZKRSODQQHGDQGOHGWKHHYHQWVRI$XJXVWDQG

                  'HIHQGDQW,GHQWLW\(YURSDLVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR9LUJLQLD

   &RGH0HPEHUVRI,GHQWLW\(YURSDYROXQWDULO\MRLQHGIRUWKHFRPPRQSXUSRVHRI

   SURPRWLQJD³ZKLWH$PHULFDQLGHQWLW\´,WZDVIRXQGHGLQ0DUFKE\'HIHQGDQW'DPLJR

   DQGRQ$XJXVW'HIHQGDQW0RVOH\VXFFHHGHGKLPDV³FKLHIH[HFXWLYHRIILFHU´7KH

   JURXSLVFXUUHQWO\OHGE\3DWULFN&DVH\,GHQWLW\(YURSD¶VIRUPHU&KLHIRI6WDII7KHJURXS

   DGRSWHGDQGSRSXODUL]HGWKHZKLWHVXSUHPDFLVWVORJDQ³<RXZLOOQRWUHSODFHXV´WKDW'HIHQGDQWV

   DQGFRFRQVSLUDWRUVFKDQWHGDVWKH\PDUFKHGRQ$XJXVWDQG

                  'HIHQGDQW0DWWKHZ+HLPEDFKDUHVLGHQWRI,QGLDQDLVWKHFKDLUPDQRI

   'HIHQGDQW7UDGLWLRQDOLVW:RUNHU3DUW\ ³7:3´ ,Q+HLPEDFKDQG'HIHQGDQW0DWWKHZ

   3DUURWWIRXQGHGWKHQHR1D]L7UDGLWLRQDOLVW<RXWK1HWZRUNDZKLWHQDWLRQDOLVWJURXSWKDW

   SURPRWHVDUDFLVWLQWHUSUHWDWLRQRI&KULVWLDQLW\$ORQJVLGH'HIHQGDQW-HII6FKRHSWKHOHDGHURI

   1DWLRQDO6RFLDOLVW0RYHPHQW ³160´ +HLPEDFKFRFKDLUVWKH1DWLRQDOLVW)URQWDQXPEUHOOD

   RUJDQL]DWLRQRIDSSUR[LPDWHO\WZHQW\ZKLWHVXSUHPDFLVWRUJDQL]DWLRQVLQFOXGLQJUDFLVWVNLQKHDG

   FUHZV.ODQJURXSVDQGQHR1D]LJURXSV+HKDVVDLG³2IFRXUVHZHORRNXSWRPHQOLNH$GROI

   +LWOHUDVLQVSLUDWLRQVIRUZKDWZHFDQDFKLHYH´+HLPEDFKRUJDQL]HGDQGOHGPDUFKHUVIURP

   7:3RQ$XJXVW

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   7UDGLWLRQDOLVW<RXWK1HWZRUNDORQJZLWKKLVVWHSVRQLQODZ'HIHQGDQW+HLPEDFK+HLV

   FXUUHQWO\WKH&KLHI,QIRUPDWLRQ2IILFHUDQG'LUHFWRURI'HIHQGDQW7:32Q$XJXVW3DUURWW

   UHIXVHGWROHDYH(PDQFLSDWLRQ3DUNDIWHUDVWDWHRIHPHUJHQF\ZDVGHFODUHGDQGZDVDUUHVWHGE\

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   WKHSROLFHIRUIDLOLQJWRGLVSHUVH3DUURWWZURWHDQDFFRXQWRIKLVH[SHULHQFHVDWWKH8QLWHWKH

   5LJKW³UDOO\´LQ³&DWFKHULQWKH5HLFK0\$FFRXQWRIP\([SHULHQFHVLQ&KDUORWWHVYLOOH´,QLW

   KHZURWHWKDW'HIHQGDQWV7:3/HDJXHRIWKH6RXWK160DQGRWKHU1DWLRQDOLVW)URQWJURXSV

   MRLQHGWRJHWKHUWR³KHOSFUHDWHWZRVKLHOGZDOOV´IRU³WKHILJKW´

                  'HIHQGDQW7UDGLWLRQDOLVW:RUNHU3DUW\ ³7:3´ LVDQXQLQFRUSRUDWHGDVVRFLDWLRQ

   SXUVXDQWWR9LUJLQLD&RGHDQGDQDWLRQDOSROLWLFDOSDUW\FRPPLWWHHUHJLVWHUHGZLWKWKH

   )HGHUDO(OHFWLRQ&RPPLVVLRQVLQFH0HPEHUVRI7:3YROXQWDULO\MRLQHGIRUWKHFRPPRQ

   SXUSRVHRISURPRWLQJDQWL6HPLWLVP$FFRUGLQJWR'HIHQGDQW+HLPEDFKWKH7:3KDVWKUHH

   GR]HQDFWLYHFKDSWHUVDQGDQHVWLPDWHGPHPEHUVDFURVVWKHFRXQWU\7KH7:3ZDVFUHDWHG

   E\'HIHQGDQWV+HLPEDFKDQG3DUURWW7KH7:3KDVVDLG³7UXVWQRERG\ZKRIDLOVWRQDPHWKH

   -HZZKRIDLOVWRH[SOLFLWO\DQGFRQVLVWHQWO\RSSRVHWKH-HZDQGZKRSUHDFKHVFOHYHUQHVVRU

   QXDQFHRQWKH-4>-HZLVK4XHVWLRQ@´0HPEHUVRIWKH7:3SURPSWHGDWWHQGHGDQGIXOO\

   SDUWLFLSDWHGLQWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQGLQFOXGLQJE\HQJDJLQJLQ

   YLROHQFH

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   WKH6RXWKDQQRXQFHGWKHIRUPDWLRQRIDQDUPHGSDUDPLOLWDU\XQLWGXEEHG³WKH,QGRPLWDEOHV´

   WDVNHGZLWKDGYDQFLQJVRXWKHUQVHFHVVLRQE\DQ\PHDQVQHFHVVDU\,Q0D\+LOOSXEOLVKHG

   DQDUWLFOHLQZKLFKKHDVVHUWHG³:H6RXWKHUQQDWLRQDOLVWVGRQRWZDQWDUDFHZDU RUDQ\VRUWRI

   ZDU %XWLIRQHLVIRUFHGRQXVZH¶OOSDUWLFLSDWH6RXWKHUQZKLWHVDUHJHDUHGXSDQGDUPHG

   WRWKHWHHWK6RLIQHJURHVWKLQND³UDFHZDU´LQPRGHUQ$PHULFDZRXOGEHWRWKHLU

   DGYDQWDJHWKH\KDGEHWWHUSUHSDUHWKHPVHOYHVIRUDYHU\UXGHDZDNHQLQJ´+LOOZKRVHQDPH

   ZDVIHDWXUHGRQDSURPRWLRQDOSRVWHUIRUWKH³UDOO\´HQFRXUDJHG/HDJXHRIWKH6RXWKIROORZHUV

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   WRDWWHQGE\XUJLQJWKHPQRWWR³PLVVRXWRQWKHIXQ´LQGHDOLQJZLWKFRXQWHUSURWHVWRUV²WKHLU

   SXUSRUWHGHQHPLHV2Q$XJXVW/HDJXHRIWKH6RXWKOHGE\+LOOPDUFKHGWKURXJK

   &KDUORWWHVYLOOHDIWHU9DQJXDUG$PHULFD/LNH9DQJXDUG$PHULFDWKH\PDUFKHGZLWK

   FRRUGLQDWHGVKLHOGVDQGIODJVDQGFDUULHGURGVDQGRWKHUZHDSRQV

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   RIWKH6RXWKWRDWWDFNE\\HOOLQJ³FKDUJH´$IWHUUHFHLYLQJWKLVFRPPDQGWKHJURXSVWUHDPHG

   SDVWKLPWRDWWDFNFRXQWHUSURWHVWRUV'HIHQGDQW+LOOODWHUERDVWHGWKDW³0U7XEEVZDV

   HYHU\ZKHUHWKHFKDRVZDV´7XEEVSUHYLRXVO\VHUYHGDIRXU\HDUSULVRQVHQWHQFHIRUSODQQLQJWR

   ERPE-HZLVKDQGEODFNRZQHGEXVLQHVVHVLQ)ORULGD

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   DZKLWHVXSUHPDFLVWJURXSWKDWDGYRFDWHV6RXWKHUQVHFHVVLRQ3ULRUWRWKHHYHQWVRQ$XJXVW

   DQG'HIHQGDQW+LOOSRVWHGLQWKH/HDJXH¶V)DFHERRNJURXSWKDWKHZDQWHG³QRIHZHUWKDQ

   /HDJXHZDUULRUVGUHVVHGDQGUHDG\IRUDFWLRQLQ&KDUORWWHVYLOOH9LUJLQLDRQ$XJXVW´

   1XPHURXVPHPEHUVRIWKH/HDJXHRIWKH6RXWKSDUWLFLSDWHGLQ6DWXUGD\¶VYLROHQWHYHQWVWRJHWKHU

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   1DWLRQDO6RFLDOLVW0RYHPHQWWKHODUJHVWQHR1D]LFRDOLWLRQLQWKH8QLWHG6WDWHV2Q$SULO

   6FKRHSIRUPHGWKH$U\DQ1DWLRQDOLVW$OOLDQFHODWHUUHQDPHGWKH1DWLRQDOLVW)URQWZKLFK

   LVWKHXPEUHOODRUJDQL]DWLRQIRUKDWHJURXSVVXFKDVWKH7:3WKH$U\DQ7HUURU%ULJDGHDQG

   PDQ\UHJLRQDOIDFWLRQVRIWKH.X.OX[.ODQ6FKRHSKDVVDLGWKDWLIKHFRXOGPHHW$GROI+LWOHU

   WRGD\KHZRXOGVD\³7KDQN\RXIRU\RXUVDFULILFHDQG,KRSHZHKDYHKRQRUHG\RXLQVRPH

   VPDOOZD\E\FDUU\LQJRQWKHILJKW´6FKRHSSDUWLFLSDWHGDFWLYHO\LQWKHHYHQWVRI$XJXVWDQG

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   FRPPRQSXUSRVHRISURPRWLQJD³JUHDWHU$PHULFD´WKDWZRXOGGHQ\FLWL]HQVKLSWR-HZVQRQ

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   FODLPWREHOLHXWHQDQWVVHUJHDQWVRURWKHUPLOLWDU\UDQNV'HIHQGDQW6FKRHSWKHKHDGRI160

   KDVVHUYHGDVLWV³&RPPDQGHU´VLQFH&KDSWHUVRIWKHJURXSVDUHWHUPHG³XQLWV´160

   PDLQWDLQVDEXVLQHVVWKURXJK1605HFRUGV//&VHOOLQJQHR1D]LIODJVVZDVWLNDVJHDUHWF

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   QDWLRQDOLVPDQGZKLWHVXSUHPDF\)RUPHUO\NQRZQDVWKH$U\DQ1DWLRQDO$OOLDQFH1DWLRQDOLVW

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   LQFOXGLQJQHR1D]LDQG.ODQJURXSV7KH1DWLRQDOLVW)URQWLVOHGE\'HIHQGDQWV6FKRHS

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   XQLWHZKLWHVXSUHPDFLVWDQGZKLWHQDWLRQDOLVWFLUFOHV´9DULRXVPHPEHUVRIWKH1DWLRQDOLVW)URQW

   HQJDJHGLQDFWVRIYLROHQFHDQGLQWLPLGDWHGUHVLGHQWVRI&KDUORWWHVYLOOHRQ$XJXVWDQG

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   RI)ORULGDLVDZKLWHQDWLRQDOLVWDZKLWHVXSUHPDFLVWDQGDPHPEHURI'HIHQGDQW)UDWHUQDO



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   2UGHURI$OW.QLJKWV ³)2$.´ WKH³PLOLWDU\ZLQJ´RIWKH3URXG%R\VDJURXSGHVFULEHGDVD

   ³µSUR:HVWHUQIUDWHUQDORUJDQL]DWLRQ¶IRUPHQZKRµUHIXVHWRDSRORJL]HIRUFUHDWLQJWKHPRGHUQ

   ZRUOG¶´+HKDVVDLGWKDWDYLROHQWVHFRQG&LYLO:DULVQHFHVVDU\LQRUGHUWRSUHVHUYH³:HVWHUQ

   FLYLOL]DWLRQ´2Q$XJXVW,QYLFWXVDQQRXQFHGKLVFDQGLGDF\DVD5HSXEOLFDQIRUWKH

   6HQDWHHOHFWLRQLQ)ORULGD,QYLFWXVZKRVHQDPHZDVIHDWXUHGRQDSURPRWLRQDOSRVWHUIRU

   WKH³UDOO\´GUDIWHGWKH³&KDUORWWHVYLOOHVWDWHPHQW´DORQJZLWK6SHQFHUDQGRWKHUVDQG

   SDUWLFLSDWHGLQWKHWRUFKOLWUDOO\RQ$XJXVWZLWKFR'HIHQGDQWV

                  'HIHQGDQW)UDWHUQDO2UGHURIWKH$OW.QLJKWV ³)2$.´ LVDQXQLQFRUSRUDWHG

   DVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGHDQGLVVHOIGHVFULEHGDVWKH³WDFWLFDOGHIHQVLYH

   DUP´RI3URXG%R\VIRUPHGWRIRFXVRQ³VWUHHWDFWLYLVPSUHSDUDWLRQGHIHQVHDQG

   FRQIURQWDWLRQ´'HIHQGDQW,QYLFWXVLVVHFRQGLQFRPPDQGDW)2$.DQG)2$.DWWHQGHGWKH

   ³UDOO\´LQSDUWWRSURYLGHVHFXULW\WRKLP

                  'HIHQGDQW0LFKDHO³(QRFK´3HLQRYLFKDUHVLGHQWRI1HZ<RUNLVWKHIRXQGHURI

   WKHEORJDQGZHEVLWH7KH5LJKW6WXIIDQGDFRKRVWRIWKH'DLO\6KRDKSRGFDVW2QVRFLDOPHGLD

   3HLQRYLFKKDVDWYDULRXVWLPHVXVHGWKHKDQGOHV#1RW0LNH(QRFKDQG#PLNHHQRFKVEDFN

   3HLQRYLFKIUHTXHQWO\DSSHDUVDWHYHQWVDORQJVLGH'HIHQGDQW6SHQFHU3HLQRYLFKZDVIHDWXUHGRQ

   DSURPRWLRQDOSRVWHUIRUWKH³UDOO\´2Q$XJXVWLQWKHLPPHGLDWHDIWHUPDWKRIWKHFDUDWWDFN

   6SHQFHUDQG3HLQRYLFKVSRNHWRWKHLUIROORZHUVDW0F,QWLUH3DUN

                  'HIHQGDQW/R\DO:KLWH.QLJKWVRIWKH.X.OX[.ODQ ³/R\DO:KLWH.QLJKWV´ LV

   DQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGH0HPEHUVRI/R\DO:KLWH

   .QLJKWVYROXQWDULO\MRLQHGIRUWKHFRPPRQSXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGZKLWH

   VXSUHPDF\%DVHGLQ3HOKDP1RUWK&DUROLQDWKHDVVRFLDWLRQRQO\DFFHSWV³QDWLYHERUQZKLWH

   $PHULFDQ&LWL]HQ>V@´DVPHPEHUV)ROORZLQJWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQG

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   WKH/R\DO:KLWH.QLJKWVFKDQJHGWKHLURXWJRLQJYRLFHPDLOPHVVDJHWRVD\³1RWKLQJPDNHVXV

   PRUHSURXGDWWKH...WKDQZKHQZHVHHZKLWHSDWULRWVVXFKDV-DPHV)LHOGV-UDJHWDNLQJ

   KLVFDUDQGUXQQLQJRYHUQLQHFRPPXQLVWDQWLIDVFLVWNLOOLQJRQHQLJJHUORYHUQDPHG+HDWKHU

   +H\HU-DPHV)LHOGVKDLOYLFWRU\,W¶VPHQOLNH\RXWKDWKDYHPDGHWKHJUHDWZKLWHUDFHVWURQJ

   DQGZLOOEHVWURQJDJDLQ´

                  'HIHQGDQW(DVW&RDVW.QLJKWVRIWKH.X.OX[.ODQDND(DVW&RDVW.QLJKWVRI

   WKH7UXH,QYLVLEOH(PSLUH ³(DVW&RDVW.QLJKWV´ LVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR

   9LUJLQLD&RGH0HPEHUVRI(DVW&RDVW.QLJKWVYROXQWDULO\MRLQIRUWKHFRPPRQ

   SXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGZKLWHVXSUHPDF\,WLVDFWLYHLQVHYHUDOVWDWHVDQG

   KDVDVXEGLYLVLRQRU³NODYHUQ´LQWKHVWDWHRI0DU\ODQG7RP/DUVRQLVWKHLPSHULDOZL]DUGRI

   WKH(DVW&RDVW.QLJKWVRIWKH7UXH,QYLVLEOH(PSLUH7KH(DVW&RDVW.QLJKWVXVLQJWKHKDQGOHV

   #WLJKWURSHBDQG#7LJKWURSHIUHTXHQWO\WZHHWVUDFLVWLPDJHVDQGFRPPHQWVRQ

   6HSWHPEHULWWZHHWHGSLFWXUHVRIEXUQLQJFURVVHVODEHOHGDQLPDJHRIO\QFKHGEODFN

   PHQDV³$ODEDPDZLQGFKLPHV´DQGWZHHWHGDFDUWRRQRID.ODQVPDQXVLQJWZREODFNPHQ

   KXQJIURPWUHHVDVDKDPPRFNLQZKLFKWRUHDGWKHQHZVSDSHUDQGGULQNDQLFHGWHD7KH(DVW

   &RDVW.QLJKWVZDVDNH\SDUWLFLSDQWLQWKH-XO\.ODQUDOO\DQGFRQVSLUHGZLWKWKH1DWLRQDOLVW

   )URQWDQGRWKHU'HIHQGDQWVWRRUJDQL]HDQGSDUWLFLSDWHLQWKHYLROHQWHYHQWVRI$XJXVW

                                                   )$&76

                  'HIHQGDQWVDUHZKLWHVXSUHPDFLVWZKLWHQDWLRQDOLVWDQGQHR1D]LRUJDQL]DWLRQV

   DQGLQGLYLGXDOVZKRKDYHDVSDUWRIWKHLUPLVVLRQWRHQJDJHLQUDFLDOUHOLJLRXVDQGHWKQLFDOO\

   PRWLYDWHGYLROHQFHWKUHDWVLQWLPLGDWLRQDQGKDUDVVPHQW7KHHYHQWVLQ&KDUORWWHVYLOOHDUHSDUW

   RI'HIHQGDQWV¶UHFHQWFRQFHUWHGHIIRUWVWRPRYHIURPWKHVKDGRZVRIDQRQ\PRXVGLVDVVRFLDWHG




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   RQOLQHFKDWURRPVDQGLQWRDPRUHRSHQRUJDQL]HGSK\VLFDOSUHVHQFHLQRXUSDUNVDQGRQRXU

   VWUHHWV'HIHQGDQWVDUHFRFRQVSLUDWRUVZLWKHDFKRWKHUDQGRWKHUVXQQDPHG

   , 'HIHQGDQWV$QG8QQDPHG&R&RQVSLUDWRUV&RQVSLUHG7R&RPPLW$FWV2I9LROHQFH
       ,QWLPLGDWLRQ$QG+DUDVVPHQW$JDLQVW7KH&LWL]HQV2I&KDUORWWHVYLOOH9LUJLQLD

   $      'HIHQGDQWV7DUJHWHG&KDUORWWHVYLOOHLQWKH0RQWKV3ULRUWR$XJXVWDQG ³WKH
            6XPPHURI+DWH´ 

                      :KHQWKH-HZVWRRNRYHURXUVRFLHW\DQGWXUQHGLWLQWRDNLNHGRXW
                      OLYLQJKHOOWKH\PDUNHGWKHLUDFKLHYHPHQWE\GHFODULQJD³6XPPHU
                      RI /RYH´    7KH\ WRRN HYHU\WKLQJ DZD\ IURP XV  7KDW DJH LV
                      HQGLQJQRZ:HDUHWDNLQJEDFNRXUELUWKULJKW7KLVVXPPHUD
                      %ODFN6XQZLOOSDVVRYHU$PHULFD,DPGHFODULQJWKHVXPPHU
                      RIWKH6XPPHURI+DWH

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                  ,QIXUWKHUDQFHRIWKHLUDERYHVWDWHGJRDO'HIHQGDQWVSORWWHGWRWDUJHW

   &KDUORWWHVYLOOH9LUJLQLDDVSDUWRIZKDWWKH\FDOOHGWKH³6XPPHURI+DWH´

                  'HIHQGDQWVVHOHFWHG&KDUORWWHVYLOOHEHFDXVHDPRQJRWKHUWKLQJVWKHFLW\ZDV

   HQJXOIHGDWWKHWLPHLQDGHEDWHRYHUWKHVWDWXHRI*HQHUDO5REHUW(/HHLQDVPDOOFLW\SDUN,Q

   )HEUXDU\WKH&KDUORWWHVYLOOH&LW\&RXQFLOYRWHGWRUHPRYHWKH/HHVWDWXHDQGLQ-XQH

   LWYRWHGWRUHQDPHWKHSDUNLQZKLFKLWVWRRGIURP/HH3DUNWR(PDQFLSDWLRQ3DUN

                  'HIHQGDQWVXVHGWKHSODQQHGUHPRYDORIWKH/HHVWDWXHDVDUDOO\LQJFU\IRUWKHLU

   IROORZHUVVHHNLQJWRSUHVHUYHLWVSODFHLQWKHSDUNDQGXVHWKHGHEDWHDERXWWKHVWDWXHDVD

   PHDQVWRVWLUXSYLROHQFHDQGKDUDVVWKUHDWHQDQGLQWLPLGDWHWKHUHVLGHQWVRI&KDUORWWHVYLOOH

                  )RUH[DPSOH'HIHQGDQWV.HVVOHUDQG6SHQFHULQYLWHGZKLWHVXSUHPDFLVWJURXSV

   WRYLVLWDQGKROGHYHQWVDURXQGWKHVWDWXHZLWKWKHLQWHQWRILQWLPLGDWLQJQRQZKLWHDQG-HZLVK

   LQGLYLGXDOVDQGWKHLUDOOLHV

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   WRUFKHVDQGVXUURXQGHGWKHVWDWXHRI5REHUW(/HHLQDQHYHQWRUJDQL]HGDQGSODQQHGE\DPRQJ

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   RWKHUV'HIHQGDQWV.HVVOHU6SHQFHU'DPLJR3HLQRYLFK+HLPEDFK,GHQWLW\(YURSD9DQJXDUG

   $PHULFD7:3DQG/HDJXHRIWKH6RXWK'HIHQGDQWVDQGSDUWLFLSDQWVFDUULHGDOWULJKWFRP

   EUDQGHGVLJQVUHDGLQJ³ZHZLOOQRWEHUHSODFHG´7KH\FKDQWHG³\RXZLOOQRWUHSODFHXV´DQG

   ³EORRGDQGVRLO´³%ORRGDQGVRLO´LVDWUDQVODWLRQRI³%OXWXQG%RGHQ´D*HUPDQQDWLRQDOLVW

   SKLORVRSK\WKDWOD\DWWKHKHDUWRI1D]LSROLFLHV7KHVORJDQH[SUHVVHVWKHLGHDOL]DWLRQRID

   UDFLDOO\GHILQHGQDWLRQDOERG\ ³EORRG´ XQLILHGZLWKDVHWWOHPHQWDUHD ³VRLO´ ,WLVLQH[WULFDEO\

   OLQNHGZLWKWKHFRQWHPSRUDU\*HUPDQLGHDRILebensraum²WKHEHOLHIWKDWWKH*HUPDQSHRSOH

   QHHGHGWRUHFODLPKLVWRULFDOO\*HUPDQDUHDVRI(DVWHUQ(XURSHLQWRZKLFKWKH\FRXOGH[SDQG²

   ZKLFKZDVWKHGULYLQJLGHRORJ\EHKLQG+LWOHU¶VLQYDVLRQRIQHLJKERULQJFRXQWULHVDQGWKHPDVV

   PXUGHURIWKHLUFLWL]HQV

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   &KDUORWWHVYLOOHUHVLGHQWVRQWKHEDVLVRIUDFHUHOLJLRQDQGHWKQLFLW\'HIHQGDQW.HVVOHUVDLGKH

   KRSHGWKDWWKH0D\HYHQWZRXOGEHD³IDQWDVWLFILUVWHYHQW´LQD³FXOWXUDOµFLYLOZDU¶´

   'HIHQGDQWV¶DYRZHGJRDOZDVWRSURPRWHDQGFUHDWHDQDWPRVSKHUHRIUHOLJLRXVDQGUDFLDO

   VXERUGLQDWLRQRQWKHVWUHHWVRI&KDUORWWHVYLOOHLGHDOO\WKURXJKWKHLQIOLFWLRQRIYLROHQFHRU

   HPRWLRQDOGLVWUHVV

                            $WDOXQFKEHIRUHWKHHYHQW'HIHQGDQW6SHQFHU²VKDULQJDSRGLXPZLWK

   'HIHQGDQWV'DPLJR3HLQRYLFKDQG.HVVOHUDVZHOODVFRFRQVSLUDWRU6DP'LFNVRQ²H[SODLQHG

   ³:KDWEULQJVXVWRJHWKHULVWKDWZHDUHZKLWHZHDUHDSHRSOH:HZLOOQRWEHUHSODFHG´

                            'HIHQGDQWVODWHUDFNQRZOHGJHGWKHVXFFHVVRIWKHLUFDUHIXOGHOLEHUDWHDQG

   PRQWKVORQJSODQQLQJ7KH'DLO\6WRUPHU¶VZHEVLWHUHSRUWHGWKDW³>W@KHKRQRUDEOHZKLWHV



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   PDUFKHGWRWKHEDVHRIWKHVWDWXHDVWKH\FDUULHGWRUFKHVUHPLQLVFHQWRIWKHUG5HLFK´,QDQ

   HVVD\DERXWWKH0D\HYHQWHQWLWOHG³:K\:H)LJKW´9DQJXDUG$PHULFDH[SODLQHG

                              ³7KHSXUSRVHRIWKHJDWKHULQJZDVQRWVLPSO\RYHUVRPH
                      PHWDOVFXOSWXUHDWRSDSHGHVWDOLQDVPDOO6RXWKHUQ&LW\,WZDV
                      DERXW GHIHQGLQJ WKH LPDJHV RI ZKLWH KLVWRU\ ZKLWH KHURHV DQG
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                              >7@KH JUHDWHVW VSHFWDFOH RI WKH HYHQW FDPH DV ZH OLW RXU
                      WRUFKHVIRUWKHQLJKWPDUFK$VZHDSSURDFKHG/HH3DUNIRUWKH
                      ODVWWLPHRXUIRRWVWHSVVKRRNWKHZKROHFLW\7KLVPRYHPHQW
                      PXVWEHJLQDVDVSLULWXDOPRYHPHQW7RTXRWHDZLVHSROODN
                      ³,I \RX ZDQW WR JDV WKH -HZV \RX PXVW ILUVW JDV WKH -HZ ZLWKLQ
                      \RXUVHOI´
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                              $IWHUDIHZZRUGVIURP6SHQFHUDQG'LFNVRQZHEOHZRXW
                      RXUWRUFKHVRXUVSLULWXDOFXSVILOOHGIRUSHUKDSVWKHILUVWWLPHLQDOO
                      RIRXUOLYHVDQGRQFHDJDLQVKRXWHGRXUGHDIHQLQJFKDQWVVKDNLQJ
                      WKHHQWLUHFLW\ZLWKRXUPLJKW
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                              7KHUHZLOOEHPDQ\PRUHRIWKHVHHYHQWV7KLVPDUFKRQ
                      &KDUORWWHVYLOOHZDVMXVWWKHEHJLQQLQJRIWKHLQHYLWDEOH5HYROXWLRQ
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                  7KLV0D\HYHQWZRXOGODWHUEHUHIHUUHGWRE\FRQVSLUDWRUVDV³&KDUORWWHVYLOOH´

                  &DSLWDOL]LQJRQWKHSHUFHLYHGVXFFHVVRIWKH0D\HYHQWDQGPRWLYDWHGE\WKH

   VDPHGHVLUHWRDFKLHYHUDFLDODQGUHOLJLRXVVXERUGLQDWLRQRIFLW\UHVLGHQWV'HIHQGDQWVEHJDQ

   SODQQLQJIRUDGGLWLRQDOHYHQWVLQ&KDUORWWHVYLOOH2Q0D\.HVVOHUVXEPLWWHGDQDSSOLFDWLRQ

   IRUDSHUPLWWRKROGWKH8QLWHWKH5LJKW³UDOO\´RQWKHZHHNHQGRI$XJXVWDQG

                  ,Q-XQH'HIHQGDQW.HVVOHULQYLWHG'HIHQGDQWVDQGRWKHUVWRFRPHWR

   &KDUORWWHVYLOOHIRUD³3URXG%R\V´HYHQWZKLFKZDVGHVLJQHGWRSURPRWHYLROHQFHDQG




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   LQWLPLGDWHPLQRULW\UHVLGHQWVLQDGYDQFHRIWKH8QLWHWKH5LJKW³UDOO\´$VRQHRIWKH3URXG

   %R\VLQDWWHQGDQFHQRWHGWKHJURXSZDQWHGWREDLWSURWHVWRUVEHFDXVH³DORWRIXVNLQGDOLNHWR

   VHHWKHPEOHHG´$QRWKHU3URXG%R\UHPLQGHGRWKHUV³7KLVRIFRXUVHLVMXVWWKHEHJLQQLQJ

   7KHUHDUHDOVRELJJHU>@HYHQWVSODQQHGIRU&KDUORWWHVYLOOHRQ$XJXVW´

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   WLPHE\'HIHQGDQW/R\DO:KLWH.QLJKWV1HDUO\ILIW\.ODQVPHQPDUFKHGWKURXJKWKHVWUHHWV

   VKRXWLQJ³ZKLWHSRZHU´DQGFDUU\LQJVLJQVWKDWUHDG³-HZVDUH6DWDQ¶VFKLOGUHQ´6RPHZRUH

   ZKLWH.ODQUREHVDQGPDQ\FDUULHGJXQV

                            3ODLQWLII5RPHURSHDFHIXOO\SURWHVWHGDWWKH-XO\.ODQPDUFK)ROORZLQJ

   -XO\5RPHURUHFHLYHGWKHILUVWRIIRXUKDUDVVLQJSKRQHFDOOVIURPDPHPEHURIWKH.ODQ,Q

   WKHILUVWFDOOWKHPDQH[SODLQHGWKDWDVDPHPEHURIWKH.ODQKHORYHGJRLQJWR&KDUORWWHVYLOOH

   WRGHPRQVWUDWHWKHRUJDQL]DWLRQ¶VSRZHUDQGDVNHG5RPHURLIVKHXQGHUVWRRGWKDWZKLWHSHRSOH

   DUHWKHVXSHULRUUDFH$VGHVFULEHGLQSDUDJUDSKVDQGEHORZWKHODWHUFDOOVZKLFK

   RFFXUUHGDIWHU5RPHURZDVVHULRXVO\LQMXUHGE\)LHOGV¶VDFWRIGRPHVWLFWHUURURQ$XJXVW

   ZHUHPRUHWKUHDWHQLQJ

                            .HVVOHUDWWHQGHGDQGOLYHVWUHDPHGWKH.ODQPDUFKRQ7ZLWWHU+HVKDUHGDWZHHW

   ZLWKKLVIROORZHUV³8QLWH7KH5LJKWDJDLQVWWKHVHVKLWOLEVLQ&KDUORWWHVYLOOHRQ$XJXVWWKLV

   JRLQJWREHVRPXFKIXQ<RX¶YHJRWDPRQWKWREHWKHUH´




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   QDPHILYHEUHDNIDVWFHUHDOV7KLV³FHUHDOEHDWLQ´LVWKH³VHFRQGGHJUHH´RILQLWLDWLRQLQWRWKH3URXG%R\V7KHILUVW
   GHJUHHLVDGHFODUDWLRQRIDOOHJLDQFHWRWKH3URXG%R\V7KHVHFRQGGHJUHHLVWKHFHUHDOEHDWLQDQGDUHQRXQFHPHQW
   RIPDVWXUEDWLRQ DOWKRXJK3URXG%R\V³3RSH´'DQWH1HURKDVIUDPHGWKHUXOHDVUHTXLULQJWKDWDPDQVKRXOGRQO\
   HMDFXODWHZLWKLQD\DUGRIDZRPDQ 7KHWKLUGGHJUHHLQYROYHVJHWWLQJDWDWWRRDQGWKHIRXUWKGHJUHHUHTXLUHVD
   ³PDMRUILJKWIRUWKHFDXVH´PHDQLQJ\RX³NLFNWKHFUDSRXWRIDQWLID´DQGSRVVLEO\JHWDUUHVWHG 
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   %      'HIHQGDQWV3ODQQHGDQG&RRUGLQDWHGD6FKHPHWR,QFLWH9LROHQFH7KUHDWHQ
            ,QWLPLGDWHDQG+DUDVV&KDUORWWHVYLOOH5HVLGHQWVRQ$XJXVWDQG

                      7KHDJHRIXOWUDYLROHQFHLVFRPLQJ,GRQ¶WNQRZZKHQEXW,GR
                      NQRZWKDWPRVWRI\RXZLOOOLYHWRVHHLW
                      
                      7KHUHLVUDSLGO\DSSURDFKLQJDWLPHZKHQLQHYHU\ZKLWH:HVWHUQ
                      FLW\FRUSVHVZLOOEHVWDFNHGLQWKHVWUHHWVDVKLJKDVPHQFDQVWDFN
                      WKHP
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                      $QG\RXDUHHLWKHUJRLQJWREHVWDFNLQJRUJHWWLQJVWDFNHG
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                      7KHUHZLOOEHOHDGHUV<RXQHHGWREHSUHSDUHGWRUHFRJQL]HWKHP
                      IRUZKRWKH\DUHDQG\RXQHHGWREHSUHSDUHGWRGRZKDWHYHUWKH\
                      WHOO\RXWRGRH[DFWO\DVWKH\WHOO\RXWRGRLW
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                                                                  Defendant Andrew Anglin

                  'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVFRQVSLUHGWRLQFLWHYLROHQFHDQGWRWKUHDWHQ

   LQWLPLGDWHDQGKDUDVVWKHFLYLOLDQSRSXODWLRQRI&KDUORWWHVYLOOHDQGLQSDUWLFXODUUDFLDOHWKQLF

   RUUHOLJLRXVPLQRULWLHVDQGWRFRPPLWRWKHUXQODZIXODFWVDVGHVFULEHGKHUHLQ)RUZHHNV

   'HIHQGDQWVDFWHGRQWKHEDVLVRIUDFLDOUHOLJLRXVDQGRUHWKQLFDQLPXVDQGZLWKWKHLQWHQWLRQWR

   GHQ\-HZLVKSHRSOHDQGSHRSOHRIFRORUDVZHOODVSHRSOHDGYRFDWLQJIRUWKHULJKWVRI-HZLVK

   SHRSOHDQGSHRSOHRIFRORUHTXDOSURWHFWLRQDQGRWKHUULJKWVWKDWWKH\DUHJXDUDQWHHGXQGHUVWDWH

   DQGIHGHUDOODZ'HIHQGDQWV¶FRQVSLUDF\XOWLPDWHO\DFKLHYHGLWVVWDWHGJRDOVDQGGLGLQIDFW

   UHSHDWHGO\V\VWHPDWLFDOO\DQGXQPLVWDNDEO\YLRODWHWKHULJKWVRIUHOLJLRXVDQGUDFLDOPLQRULWLHV

   LQ&KDUORWWHVYLOOH

                  7KHDSSOLFDWLRQIRUWKH8QLWHWKH5LJKWSHUPLWVXEPLWWHGE\'HIHQGDQW.HVVOHU

   FODLPHGWKDWWKHHYHQWZRXOGEHDSURWHVWRIWKHUHPRYDORIWKH/HHPRQXPHQWEXW'HIHQGDQWV

   DOVRLQWHQGHGWKDWWKHUDOO\ZRXOGLQVWLOOIHDULQ&KDUORWWHVYLOOH¶VPLQRULW\SRSXODWLRQDQGFDXVH

   YLROHQFH7KH\ZDQWHGWRXVHWKHHYHQWVRIWKHZHHNHQGWRLQWLPLGDWHWKHEURDGHUFLYLOLDQ

   SRSXODWLRQDQGUHFUXLWPRUHIROORZHUVWR'HIHQGDQWV¶JURXSV

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   ZHEVLWHRQ$XJXVWH[SODLQHGWKDWWKHSXUSRVHRIWKH³UDOO\´KDGVKLIWHGIURPEHLQJ³LQVXSSRUW

   RIWKH/HH0RQXPHQWZKLFKWKH-HZ0D\RUDQGKLV1HJURLG'HSXW\KDYHPDUNHGIRU

   GHVWUXFWLRQ´WR³VRPHWKLQJPXFKELJJHUWKDQWKDW,WLVQRZDQKLVWRULFUDOO\ZKLFKZLOO

   VHUYHDVDUDOO\LQJSRLQWDQGEDWWOHFU\IRUWKHULVLQJ$OW5LJKWPRYHPHQW´

                  'HIHQGDQWV.HVVOHU6SHQFHU$QJOLQ5D\&DQWZHOO0RVOH\'DPLJR,QYLFWXV

   3HLQRYLFK+HLPEDFK3DUURWW+LOO7XEEV)LHOGVDQG6FKRHSRQEHKDOIRIWKHPVHOYHVDQGWKH

   JURXSVWRZKLFKWKH\EHORQJDQG'HIHQGDQWV,GHQWLW\(YURSD)2$.9DQJXDUG$PHULFD7:3

   /HDJXHRIWKH6RXWK1601DWLRQDOLVW)URQW/R\DO:KLWH.QLJKWVDQG(DVW&RDVW.QLJKWV

   DORQJZLWK'DLO\6WRUPHU 'HIHQGDQW0RRQEDVH+ROGLQJV WKURXJKWKHLUOHDGHUVKLSDQG

   PHPEHUVDOODJUHHGDQGFRRUGLQDWHGZLWKDQGDPRQJHDFKRWKHUWRSODQRUJDQL]HSURPRWHDQG

   FRPPLWWKHXQODZIXODFWVWKDWLQMXUHG3ODLQWLIIVDQGFRXQWOHVVRWKHUVLQ&KDUORWWHVYLOOH7KH\

   DOVRFRRUGLQDWHGZLWKQXPHURXVQDPHGDQGXQQDPHGFRFRQVSLUDWRUV

                  'HIHQGDQW6SHQFHUDQGFRFRQVSLUDWRU(YDQ0F/DUHQDPHPEHURI'HIHQGDQW

   ,GHQWLW\(YURSDPHWLQSHUVRQDWWKH7UXPS+RWHOLQ:DVKLQJWRQ'&WRRUJDQL]HDQGGLUHFWWKH

   ³UDOO\´LQ&KDUORWWHVYLOOHZLWKWKHSXUSRVHDQGUHVXOWRIFRPPLWWLQJDFWVRIYLROHQFH

   LQWLPLGDWLRQDQGKDUDVVPHQWDJDLQVWWKHFLWL]HQVRI&KDUORWWHVYLOOH

                  'HIHQGDQWV&DQWZHOODQG.HVVOHUPHWLQ&KDUORWWHVYLOOHRQ$XJXVWWRSODQDQG

   GLUHFWWKHXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQRIODZ

                  'HIHQGDQWV5D\&DQWZHOODQG0RVOH\DQGFRFRQVSLUDWRU'DYLG'XNHDWWHQGHG

   DQRWKHULQSHUVRQPHHWLQJRQ$XJXVWWRSODQDQGGLUHFWWKHXQODZIXODFWVRIYLROHQFH

   LQWLPLGDWLRQDQGWKHGHQLDORIHTXDOSURWHFWLRQRIODZ



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   $PHULFD(DVW&RDVW.QLJKWVDQG³RWKHUDOOLHV´FRRUGLQDWHGWKHLUDWWHQGDQFHDVD³MRLQW

   RSHUDWLRQ´LQDGYDQFHRI$XJXVWWRSODQGLUHFWDQGSUHSDUHIRUXQODZIXODFWVRIYLROHQFH

   LQWLPLGDWLRQKDUDVVPHQWDQGGHQLDORIHTXDOSURWHFWLRQWR&KDUORWWHVYLOOHFLWL]HQV

                  'HIHQGDQWVDOVRIUHTXHQWO\FRRUGLQDWHGWKHLOOHJDODFWVSODQQHGIRUWKH8QLWHWKH

   5LJKWHYHQWRQOLQH7KH\PDGHXVHRIZHEVLWHVVRFLDOPHGLD LQFOXGLQJ7ZLWWHU)DFHERRN

   FKDQDQGFKDQ FKDWURRPVUDGLRYLGHRVDQGSRGFDVWVWRFRPPXQLFDWHZLWKHDFKRWKHUDQG

   ZLWKWKHLUFRFRQVSLUDWRUVIROORZHUVDQGRWKHUDWWHQGHHVDQGGLGVRWRSODQWKHLQWHQGHGDFWVRI

   YLROHQFHLQWLPLGDWLRQDQGWKHGHQLDOWRFLWL]HQVRIWKHHTXDOSURWHFWLRQRIODZV

                  )RU\HDUV'HIHQGDQWVDQGRWKHUVXQQDPHGKDYHXVHGWKH,QWHUQHWWRLQ'HIHQGDQW

   $QJOLQ¶VWHUPV³VROLGLI\DVWDEOHDQGVHOIVXVWDLQLQJFRXQWHUFXOWXUH´8VHRIWKH,QWHUQHWLVSDUW

   RIWKHZD\VPDQQHUDQGPHDQVRIKRZ'HIHQGDQWV¶FRQVSLUDF\RSHUDWHGDQGRSHUDWHV

                  'HIHQGDQWVDQGFRFRQVSLUDWRUVFRRUGLQDWHGE\SRVWLQJDUWLFOHVRQWKHLURZQ

   ZHEVLWHVDQGE\XVLQJVRFLDOPHGLDWRVHQGDQGVKDUHPHVVDJHVIRUWKH³UDOO\´DQGWRHQFRXUDJH

   DWWHQGDQFHDQGWKHFRPPLVVLRQRILOOHJDODFWV7KH\LQWHUYLHZHGRQHDQRWKHUDERXWWKHSODQVIRU

   WKH³UDOO\´DQGVKDUHGWKRVHPHVVDJHVRQSRGFDVWVRURWKHUYLGHRVWUHDPLQJVHUYLFHV7KH\

   DJUHHGWRPRELOL]HWKHLUUHVSHFWLYHPHPEHUVDQGIROORZHUVWRDWWHQGDQGEHYLROHQWDQGVXSSUHVV

   WKHHTXDOULJKWVRI&KDUORWWHVYLOOHFLWL]HQV$FFRUGLQJWR6SHQFHUIRUH[DPSOH³'DPLJRDQG

   KLVJURXS>,GHQWLW\(YURSD@WRRNWKHOHDGWRRUJDQL]HZKLWHVXSUHPDFLVWSDUWLFLSDWLRQDPRQJ

   SHRSOHIURPRXWVLGH&KDUORWWHVYLOOH´

                  2QH,QWHUQHWWRRO'HIHQGDQWVXVHGH[WHQVLYHO\WRSODQDQGGLUHFWLOOHJDODFWVZDV

   WKHFKDWSODWIRUP'LVFRUG2ULJLQDOO\GHYHORSHGDVDPHVVDJLQJSODWIRUPIRUJURXS³JDPHSOD\´

   'LVFRUGLVVHWXSDVDVHULHVRISULYDWHLQYLWHRQO\VHUYHUVHDFKSURYLGLQJDVSDFHIRUUHDOWLPH

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   JURXSGLVFXVVLRQ(DFKVHUYHULVRUJDQL]HGLQWR³FKDQQHOV´LQGLFDWHGE\D³´EHIRUHWKHQDPH

   3DUWLFLSDQWVLQWKHFKDWXVH³KDQGOHV´RUQLFNQDPHVWRLGHQWLI\WKHPVHOYHV3DUWLFLSDQWVFDQ

   UHTXHVWWREH³WDJJHG´DVDPHPEHURIDJURXS2QFHWDJJHGWKHSDUWLFLSDQWVFDQUHDGDQG

   SDUWLFLSDWHLQWKDWJURXS¶VFKDWV

                            $³&KDUORWWHVYLOOH´VHUYHUZDVHVWDEOLVKHGRQ'LVFRUGLQ-XQH7KLV

   VHUYHUZDVXVHGWRGLUHFWDQGSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDO

   SURWHFWLRQRIODZDWWKH8QLWHWKH5LJKW³UDOO\´2QHXVHUH[SODLQHGWKDW'LVFRUGZDV³IRU

   FORVHGWRSVXSHUVHFUHWFRPPXQLFDWLRQVLQWHQGHGIRUWKHHOLWHLQQHUFLUFOHRIWKHDOWULJKW´

   'HIHQGDQWVXVHG'LVFRUGDVDWRROWRSURPRWHFRRUGLQDWHDQGRUJDQL]HWKH8QLWHWKH5LJKW

   ³UDOO\´DQGDVDPHDQVWRFRPPXQLFDWHDQGFRRUGLQDWHYLROHQWDQGLOOHJDODFWLYLWLHV³LQVHFUHW´

   GXULQJWKHDFWXDOHYHQWVRIWKDWZHHNHQG

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   DQG0RVOH\DORQJZLWKWKHLUFRFRQVSLUDWRUV$VPRGHUDWRUVRIWKHJURXSWKH\ZHUHDEOHWR

   YLHZDOORIWKHSRVWVLQYLWHRUUHMHFWSDUWLFLSDQWVDQGGHOHWHPHVVDJHVWKH\GLGQRWFRQGRQH7KH

   JURXSZDV³LQYLWHRQO\´DQGQRWRSHQWRWKHSXEOLF

                            ,QGLYLGXDO'HIHQGDQWVLQFOXGLQJ+HLPEDFK3DUURWW&DQWZHOODQG5D\ZHUHDOO

   SDUWLFLSDQWVRQ'LVFRUGDQGSDUWLFLSDWHGLQWKHGLUHFWLRQSODQQLQJDQGLQFLWLQJRIXQODZIXODQG

   YLROHQWDFWVWKURXJK'LVFRUG

                            7KHVH'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVXVHG'LVFRUGIRUUHJXODU³OHDGHUVKLS´

   PHHWLQJVWKURXJKZKLFKWKH\VKDUHGLQIRUPDWLRQDQGSODQV'HIHQGDQWVDOVRXVHG'LVFRUGWR

   GLVWULEXWHZKDWWKH\FDOOHG³2UGHUV´WRFRFRQVSLUDWRUVDQGDWWHQGHHV2QHGRFXPHQWSRVWHGE\


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    $QRWKHUXVHUH[SODLQHG³XQOHVV-DVRQRU(OLPDGHWKLVVHUYHUSXEOLFZLWKRXWWHOOLQJPHWKLVLVQ¶WDSXEOLF
   VHUYHU,W¶VLQYLWHRQO\WKURXJKRXUWUXVWHGSUHYHWWHGDOWULJKWVHUYHUV1RWVXUHZKRWROG\RXLW¶VSXEOLF´ 
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   LQIRUPDWLRQ7KRVHFKDQQHOVLQFOXGHG

              DQQRXQFHPHQWV                  QHZV                  PDBFWBUL
              GL[LHO\ULFV                   VDIHW\BSODQQLQJ       YWBQKBPH
              PRGBKHOS                       DOH[BMRQHVBFKDW       JUHDWBODNHVBUHJLRQ
              FRQILUPHGBSDUWLFLSDQWV         SLFWXUHVBDQGBYLGHR    PLGZHVWBUHJLRQ
              VKXWWOHBVHUYLFHBLQIRUPDWLRQ    EHOWZD\BELJRWV        N\BWQ
              FRGHBRIBFRQGXFW                YRLFHBFKDW            W[BRN
              VHOIBSURPRWLRQ                 IULGD\QLJKW          IORULGD
              IODJVBEDQQHUVBVLJQV            VXQGD\QLJKW          JHRUJLD
              SURPRWLRQBDQGBF\EHUVWULNH      FKDQWV               FDUROLQDV
              JHDUBDQGBDWWLUH                YLUJLQLDBODZV         FDOLIRUQLDBSDFLILFBQZ
              DQWLIDBZDWFK                   ORGJLQJ               FDUSRROBDYDLODEOH
              GHPRQVWUDWLRQBWDFWLFV          ORGJLQJBZDQWHG        Q\BQM
              VSRQVRUVBRQO\                  ORGJLQJBDYDLODEOH     SHQQV\OYDQLD
              LBQHHGBDBVSRQVRU               FDUSRROBZDQWHG        GFBYDBPG
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                  7KH\DOVRKDGDFKDQQHOFDOOHGTXHVWLRQVBIRUBFRRUGLQDWRUVZKHUHSDUWLFLSDQWV

   FRXOGDVNTXHVWLRQVRIWKHRUJDQL]HUVDQGDFKDQQHOIRUWKH³OHDGHUVKLS´UHVHUYHGIRU

   FRQYHUVDWLRQVDPRQJWKHPDLQRUJDQL]HUVRIWKHHYHQWDERXW³SODQQLQJ´DQG³LQIUDVWUXFWXUH´DVD

   OHDGHURI'HIHQGDQW9DQJXDUG$PHULFDODWHUGHVFULEHGLW:LWKWKHSHUPLVVLRQRIDPRGHUDWRU

   LQGLYLGXDOVFRXOGEH³WDJJHG´DVPHPEHUVRIFHUWDLQRUJDQL]DWLRQV'HIHQGDQWV9DQJXDUG

   $PHULFD,GHQWLW\(YURSD7:3DQG/HDJXHRIWKH6RXWKDVZHOODV'DLO\6WRUPHU 0RRQEDVH

   +ROGLQJV DQGLWV³ERRNFOXE´FKDSWHUVDOOKDG³SULYDWHRUJDQL]DWLRQFKDQQHO>V@´RQWKH

   &KDUORWWHVYLOOH'LVFRUGVHUYHUWKDWDOORZHGWKHLUWDJJHGPHPEHUVWRSDUWLFLSDWHLQSULYDWH

   JURXSFRPPXQLFDWLRQVLQDGYDQFHRIWKH³UDOO\´

                  'HIHQGDQWVHQOLVWHGRWKHUFRFRQVSLUDWRUVWRFRRUGLQDWHDQGRUJDQL]HWKH³UDOO\´

   WKURXJK'LVFRUGDQGRWKHUPHDQV)RUH[DPSOHRQHLQGLYLGXDOXVLQJWKH'LVFRUGKDQGOH

   ³7\URQH´ KHUHLQDIWHU7\URQH DJUHHGZLWK'HIHQGDQW.HVVOHUWKDWKHZRXOGFRRUGLQDWH
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   WUDQVSRUWDWLRQIRUDWWHQGHHVRQ$XJXVW2WKHUVZHUHWDVNHGZLWKKHOSLQJ'HIHQGDQWV.HVVOHU

   DQG0RVOH\PRGHUDWHWKH'LVFRUGVHUYHU$QRWKHULQGLYLGXDOXVLQJWKH'LVFRUGKDQGOH

   ³&DHUXOXV5H[´ZDVWKHFRRUGLQDWRUEHWZHHQYDULRXV³VHFXULW\GHWDLOV´WKDWZHUHHVWDEOLVKHGE\

   'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV³&DHUXOXV5H[´KDVDOVREHHQLGHQWLILHGDVDIUHTXHQW

   ERG\JXDUGRI'HIHQGDQW6SHQFHU

                            3URPRWLRQDOPDWHULDOVRIWHQSURPRWLQJDQGLQFLWLQJYLROHQFHZHUHDGGHGWR

   'LVFRUGLQRUGHUWREHVKDUHGDQGXWLOL]HGPRUHEURDGO\

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   RWKHUVRFLDOPHGLD)RUH[DPSOHWKH\WROGIROORZHUVWRXVH8QLWH7KH5LJKWDQG&KDUORWWHVYLOOH

   RQ7ZLWWHUVRWKDWWKH\DQGWKHLUIROORZHUVFRXOGFORVHO\FRPPXQLFDWHGXULQJWKHZHHNHQGRIWKH

   ³UDOO\´7KH\VKDUHGWKDWKDVKWDJWKURXJK'LVFRUG

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   VSUHDGWKHZRUGDERXWWKHHYHQWVLQ&KDUORWWHVYLOOHDQGWRHQFRXUDJHIROORZHUVWRVKRZXSDQGEH

   SUHSDUHGIRUYLROHQFH)RUH[DPSOH'HIHQGDQW9DQJXDUG$PHULFDKDVDWOHDVWRQH'LVFRUG

   VHUYHUFDOOHG6RXWKHUQ)URQWZKLFKZDVHVWDEOLVKHGIRUPHPEHUVRIWKHJURXSOLYLQJLQVRXWKHUQ

   VWDWHV9DQJXDUG$PHULFDOHDGHUVZKRZHUHDFWLYHRQWKH&KDUORWWHVYLOOH'LVFRUGVHUYHU

   XVHGWKH6RXWKHUQ)URQWVHUYHUWRFRRUGLQDWHDWWHQGDQFHRIDGGLWLRQDO9DQJXDUGPHPEHUVDQGWR

   SURYLGHFKDQQHOVRIFRPPXQLFDWLRQEHWZHHQ9DQJXDUGPHPEHUVDQGWKHPDLQRUJDQL]HUVRIWKH

   &KDUORWWHVYLOOHHYHQW

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   ³$QWLFRP´ZKLFKSXUSRUWVWRSURYLGHGHIHQVLYHYLROHQFHDWZKLWHVXSUHPDFLVWHYHQWVOLNHWKH



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   HYHQWDQGEULQJZHDSRQVSXUVXDQWWRWKHGLUHFWLYHVRIWKH³UDOO\´RUJDQL]HUV

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   'LVFRUGVHUYHUVKDYHEHHQPDGHSXEOLFQXPHURXVRWKHU'LVFRUGVHUYHUVDQGFKDQQHOVZHUHXVHG

   DORQJZLWKWKHDIRUHPHQWLRQHGVHUYHUVWRSODQDQGFRRUGLQDWHDWWHQGDQFHDQGYLROHQWDFWVDWWKH

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   SXEOLF/LNHZLVHWKHOHDGHUVKLSFKDQQHORQWKH&KDUORWWHVYLOOHVHUYHUUHPDLQVXQGLVFORVHG

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   WKURXJKWKH'DLO\6WRUPHU¶VZHEVLWHWKDWFRFRQVSLUDWRUVDQGDWWHQGHHVZHUHWROGWRXVH

   WKURXJKRXWWKHZHHNHQGWRFRRUGLQDWHWKHLUDFWLRQV

                            $³&KDUORWWHVYLOOH6WDWHPHQW´ZDVGLVWULEXWHGE\'HIHQGDQW6SHQFHUVHWWLQJRXW

   WKHSKLORVRSK\DQGLGHRORJ\XQGHUO\LQJWKH³UDOO\´+HZDVDLGHGLQGUDIWLQJKLVPDQLIHVWRE\

   'HIHQGDQW,QYLFWXVFRFRQVSLUDWRU0F/DUHQDQGRWKHUV$PRQJRWKHUWKLQJVWKH

   &KDUORWWHVYLOOH6WDWHPHQWKROGVWKDW³µ-XGHR&KULVWLDQYDOXHV¶PLJKWEHDTXDLQWSROLWLFDOVORJDQ

   EXWLWLVDGLVWRUWLRQRIWKHKLVWRULFDODQGPHWDSK\VLFDOUHDOLW\RIERWK-HZVDQG(XURSHDQV´DQG

   WKDW³1DWLRQVPXVWVHFXUHWKHLUH[LVWHQFHDQGXQLTXHQHVVDQGSURPRWHWKHLURZQGHYHORSPHQW

   DQGIORXULVKLQJ5DFLDOO\RUHWKQLFDOO\GHILQHGVWDWHVDUHOHJLWLPDWHDQGQHFHVVDU\´

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                 ,QWLPLGDWHDQG+DUDVV

                                      >7@KLV ZLOO FOHDUO\ EH DQ HDUWKVKDNLQJ GD\ WKDW ZLOO JR
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   ZDVDFWLYHRQWKH6RXWKHUQ)URQWDQG&KDUORWWHVYLOOH'LVFRUGVHUYHUVSRVWHGLQWKH6RXWKHUQ)URQWVHUYHULQ
   UHVSRQVHWRUHSRUWVWKDWFHUWDLQ'LVFRUGFRQYHUVDWLRQVKDGEHHQPDGHSXEOLF³:HKDYHEHHQDZDUHRIWKDW7KHFKDW
   ORJVZHUHUHOHDVHGWRXQLFRUQULRW7KH\KDYHPRQWKVRIFRQYHUVDWLRQV,WZDVWKHJHQHUDOFKDWQRWWKHOHDGHUVKLS
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                                VLJQLILFDQFHRIWKLV:HFDQPDNHDOOWKHQRLVHRQWKHLQWHUQHWWKDW
                                ZHZDQWDQGWKLVLVJUHDWEXWRXUUHDOSRZHUZLOOFRPHRQO\IURP
                                QXPEHUVLQWKHVWUHHWV
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                                        >7@KDQNVWRWKHPDJQLWXGHRIWKLVHYHQW,WUXO\EHOLHYH²
                                PRUH WKDQ , HYHU GLG EHIRUH²WKDW ZH ZLOO HYHQWXDOO\ ZLQ WKLV
                                VWUXJJOHDQGVHFXUHWKHH[LVWHQFHRIRXUSHRSOHDQGIXWXUHIRUZKLWH
                                FKLOGUHQ,WLVRXUGHVWLQ\1H[WVWRS&KDUORWWHVYLOOH9$)LQDO
                                VWRS$XVFKZLW]6HH\DWKHUHIDJJRWV

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   7KHUHLVD>VLF@DWDYLVWLFUDJHLQXVGHHSLQXVWKDWLVUHDG\WRERLORYHUThere is a craving to

   return to an age of violence. We want a war´+HDGYLVHGIROORZHUVWKDW³WKHKDUGFRUHPHVVDJH

   LVZKDWVHOOV´DQGWROGWKHPWR³>E@HUHDG\WRGLHIRU>WKHILJKW@´

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   DQWL:KLWHHVWDEOLVKPHQWDQGLW¶V>VLF@DWWDFNGRJVWKDWZHDUHQRWJRLQJWRJLYHDQRWKHULQFK

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   RXWQXPEHUHGWKHDQWLZKLWHDQWL$PHULFDQILOWK$WVRPHSRLQWZHZLOOKDYHHQRXJKSRZHUWKDW

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   KWWSVQHZVYLFHFRPVWRU\YLFHQHZVWRQLJKWIXOOHSLVRGHFKDUORWWHVYLOOHUDFHDQGWHUURU  
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   DVKHV WKH\¶OOKDYHWRSU\LWIURPRXUFROGGHDGKDQGVLIWKH\ZDQWLW7KH\ZLOOQRWUHSODFHXV

   ZLWKRXWDILJKW´

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   QDWLRQDOLVWVFRPHRXWIRUWKLVUDOO\ZLOOSXWWKHIHDURIJRGLQWRWKHKHDUWVDQGPLQGVRIRXU

   HQHPLHV´$ZULWHURQ6SHQFHU¶VZHEVLWHDOWULJKWFRPHQWKXVHGWKDW'DLO\6WRUPHUZDV³JRLQJ

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   HPSLUH7KLVKDVDOOEHHQZRUNHGRXWLQP\PLQGDORQJWLPHDJRDQGWKLVVXPPHUWKH6XPPHU

   RIWKH%ODFN6XQLVZKHQZHDUHJRLQJWREULQJLWDOOWRJHWKHU´2Q'HIHQGDQW9DQJXDUG

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   (DVW&RDVW.QLJKWVH[KRUWHGLQGLYLGXDOVWRDWWHQG³:HZLOOEHWKHUH-RLQXV´

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   RSHQDQGH[SOLFLW)RUH[DPSOHRQDSRGFDVWUXQE\'HIHQGDQW3HLQRYLFKWKH'DLO\6KRDKD

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   FRQVSLUDWRUZURWH³0RVWHIILFLHQWLVKRZ\RXJHWVL[PLOOLRQ-HZVLQD&DGLOODFLQWKHIURQW

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   ZHUHFRXQWOHVVH[KRUWDWLRQVWRYLROHQFHLQFOXGLQJ

                           Ɣ ³,¶PUHDG\WRFUDFNVNXOOV´

                           Ɣ ³,I\RXGRQ¶WKDYHDIODPHWKURZHU\RX¶UHZURQJ´

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                              VLPXODWHMXPSLQJ\RX*ROLJKWGRQ¶WJHWLQMXUHGEHIRUHWKHHYHQWDQG
                              IRFXVRQEORFNLQJDQGSXVKLQJEDFNLQZD\VWKDWGRQ¶WORRNOLNHDVVDXOW´

                           Ɣ ³/HW¶VPDNHWKLVFKDQQHOJUHDWDJDLQ7KH&DUROLQDV NLQGRI VWDUWHGWKH
                              5HYROXWLRQDU\:DUDQGWKH&LYLO:DUVRZK\QRWDGGWKH5DFH:DU
                              6HFRQG&LYLO:DUWRWKHOLVW"´

                  'HIHQGDQWVWRRNQRVWHSVWRSUHYHQWDQ\YLROHQFH7RWKHFRQWUDU\FRQVLVWHQW

   ZLWKWKHLUFRQVSLUDF\WRHQFRXUDJHDQGHQDEOHYLROHQFH'HIHQGDQWVDQGFRFRQVSLUDWRUV

   UHLQIRUFHGDIDOVHQDUUDWLYHRIDODUJHU²QHFHVVDULO\YLROHQW²UDFLDODQGUHOLJLRXVZDULQZKLFK

   8QLWHWKH5LJKWHYHQWVZHUHDFULWLFDOPRPHQW7KLVVWUDWHJ\ZDVLQWHQGHGWR²DQGIRUHVHHDEO\

   UHVXOWHGLQ²YLROHQFHGLUHFWHGDWWKHUDFLDODQGUHOLJLRXVPLQRULWLHV



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                  )RUH[DPSOH'HIHQGDQW+LOOWZHHWHGRQ-XO\³,I\RXZDQWWRGHIHQGWKH

   6RXWKDQG:HVWHUQFLYLOL]DWLRQIURPWKH-HZDQGKLVGDUNVNLQQHGDOOLHVEHDW&KDUORWWHVYLOOHRQ

   $XJXVW´

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   DWWHQGHHVLQWR³)ULHQGOLHV´DQG³(QHPLHV&RXQWHU3URWHVWHUV´,QGLYLGXDOVRSSRVHGWRWKHLGHDV

   DGYDQFHGE\WKH8QLWHWKH5LJKW³UDOO\´ZHUHGHVFULEHGDV³KRVWLOH´

             7KH*HQHUDO2UGHUVIXUWKHULQVWUXFWHGFRFRQVSLUDWRUVDQGDWWHQGHHVWKDWLIWKH\

   HQGHGXSORVLQJWKHLUSHUPLWWRJDWKHULQWKHSDUNWKHQWKH\PD\³KDYHWRLQLWLDWHSODQUHGRUKDYH

   WRWDNHWKHJURXQGE\IRUFHZLWKSODQ\HOORZ´3ODQ5HGZDVGHVFULEHGDV³LQFUHGLEO\

   GDQJHURXV´DQGFDOOHGIRUPHHWLQJHDUO\DWDUDOO\SRLQWDQGPDUFKLQJWRWKHSDUN7KH*HQHUDO

   2UGHUVDOVRSURPLVHGWKDWWKHUHZRXOGEH³VHFXULW\IRUFHVWRUHGXFHWKHWKUHDW´SUHVHQWHGE\

   ³KRVWLOHV´

             &RFRQVSLUDWRUVRQ'LVFRUGLQFLWHGDWWHQGHHVWREULQJZHDSRQVDQGHQJDJHLQ

   YLROHQFH7KLVLQFLWHPHQWZDVNQRZQWRDQGSURPRWHGE\'HIHQGDQWV

             7\URQHSRVWHGDTXRWHIURP+LWOHU¶VFORVHDVVRFLDWHDQG³5HLFK3OHQLSRWHQWLDU\

   IRU7RWDO:DU´3DXO-RVHSK*RHEEHOVRQ'LVFRUG³:KRHYHUFDQFRQTXHUWKHVWUHHWZLOORQHGD\

   FRQTXHUWKHVWDWHIRUHYHU\IRUPRISRZHUSROLWLFVDQGDQ\GLFWDWRUVKLSUXQVWDWHKDVLWVURRWVLQ

   WKHVWUHHW´

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   ZDVPHUHO\DSUHWH[WIRUYLROHQFH7\URQHIRUH[DPSOHKDGWKHIROORZLQJH[FKDQJHRQ'LVFRUG

                      7\URQH³:KDWLIZHDUHVRFLRSDWKLFDQGZDQW>DQWLID@WRVKRZXSIRUVHOI
                      GHIHQVHSXUSRVHV"´
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                      $PHULFDQD±0',I\RX¶UHFRQFHUQHGDERXWDQWLIDVKRZLQJXSDQGEHLQJYLROHQW
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                      7\URQH,W¶VQRWMXVWDERXW\RX FROOHFWLYH\RXQRWSHUVRQDO YLROHQFHOLNHWKLVLVD
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   7\URQHWKHQWROGRWKHUV³7KHEHVWGHIHQVHLVDJRRGRIIHQVHP\JUDQGSDSS\WDXJKWPH´

             2QH'LVFRUGSDUWLFLSDQWWROGSHRSOHWR³SXUFKDVHVHOIGHIHQVHLQVXUDQFH´ZKLOH

   DQRWKHUTXLSSHGWKDWWKHDELOLW\WRPDNHRXWDVHOIGHIHQVHFODLP³>G@HSHQGVKRZPXFKRIDMHZ

   \RXUODZ\HULV´

             8VLQJ'LVFRUGDQGRWKHUPHGLXPV'HIHQGDQWVJDYHRUGHUVWRHDFKRWKHUFR

   FRQVSLUDWRUVDQGIROORZHUVLQDGYDQFHRIWKH8QLWHWKH5LJKWZHHNHQGLQFOXGLQJZKDWZHDSRQV

   WREULQJZKDWSURWHFWLYHDUPRUWRZHDUDQGLQVWUXFWLRQVIRUXQLIRUPV,QSDUWLFXODUWKH\

   DGYLVHGRWKHUSDUWLFLSDQWVWREULQJILUHDUPVRULPSURYLVHGZHDSRQV7KH\HQJDJHGLQWKHVHDFWV

   ZLWKWKHLQWHQWLRQWKDWWKH\DQGWKHLUFRFRQVSLUDWRUVZRXOGLQIDFWHQJDJHLQYLROHQFHDQG

   KDUDVVPHQWDJDLQVWUDFLDODQGUHOLJLRXVPLQRULWLHVDQGWKUHDWHQWKHEURDGHU&KDUORWWHVYLOOH

   SRSXODWLRQ

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   WKH³+HDG5HSUHVHQWDWLYH´RI$QWLFRPRQWKHVHUYHUWROGKLVIROORZHUVLQWKH$QWLFRPVHUYHURQ

   $XJXVW³#HYHU\RQH%ULQJDVPXFKJHDUDQGZHDSRQU\DV\RXFDQZLWKLQWKHFRQILQHVRIWKH

   ODZ,¶PVHULRXV<RXVWLOOKDYHDIHZGD\VWRJHWVRPHSURWHFWLRQIURP+RPH'HSRWDQG

   EULQJDQ\JXQV\RXKDYH7KLVLVQ¶WMXVW$QWLFRP6SHQFHURUJDQL]HUVHYHU\RQHDUHEHKLQG

   WKLV´+HDGGHG³7KLVLVWKHWLPHWRJHWRII'LVFRUGDQGWDNHDFWLRQ´2Q$XJXVWKH

   VLPXOWDQHRXVO\SRVWHGRQWKH&KDUORWWHVYLOOHDQG$QWLFRPVHUYHUVWKHDSKRWRJUDSKRI

   KLPVHOILQWDFWLFDOJHDUFDUU\LQJDULIOH VHHLPDJHVEHORZIURPWKH&KDUORWWHVYLOOHVHUYHU
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   OHIWDQG$QWLFRPVHUYHUULJKW +HWROGKLVIROORZHUV³,ZDVQ¶WNLGGLQJZKHQ,PDGHDQ

   DQQRXQFHPHQWWREULQJDVPXFKZHDSRQU\DVOHJDOO\IHDVLEOH7KLVZDVGLVFXVVHGZLWKWKH

   RUJDQL]HUV´$Q$QWLFRPIROORZHUUHVSRQGHG³<HDK,DOVRUHFRPPHQGHGFURZGIXQGLQJD

   GROODUFDPSDLJQWRKDQGRXWSHSSHUVSUD\WRIHOORZJRHUV´




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   DXWRPDWLFZHDSRQVDQGWDFWLFDOJHDUDQGERDVWHGDERXWWKHZHDSRQVWKH\ZHUHEULQJLQJ

   7\URQHIRUH[DPSOHEUDJJHGRQWKH&KDUORWWHVYLOOHVHUYHUWKDWKHZRXOGEHEULQJLQJ

   ³0RVLQ1DJDQWVZLWKED\RQHWVDWWDFKHG´UHIHUULQJWRPLOLWDU\ULIOHVXVHGE\5XVVLDQDQG6RYLHW

   DUPHGIRUFHVZKLFK³ZLOOVKRRWFOHDQWKURXJKDFURZGDWOHDVWIRXUGHHS´7LP³%DNHG$ODVND´

   *LRQHWDFRFRQVSLUDWRUDQGDWWHQGHHRIWKHHYHQWVRI$XJXVWDQGSRVWHGWKHIROORZLQJRQ

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   EFRIILFHUVGRQ¶WGXFNORO%XWP\JX\VZLOOEHUHDG\ZLWKORWVRIQLIW\HTXLSPHQW´

             2QHFRFRQVSLUDWRURQ'LVFRUGSRVWHGDIDNHDGYHUWLVHPHQWIRUDSURGXFWWKDW

   ORRNHGOLNHSHSSHUVSUD\FDOOHG³1LJ$ZD\´²´DQRIXVVQRPXVVµQLJJHUNLOOHU¶´SURPLVHGWR

   ³NLOO>@RQFRQWDFWGLVVROY>LQJ@DOOWLVVXHOHDY>LQJ@RQO\ERQHPDWWHU´LQRUGHUWR³ULGWKHDUHD

   RIQLJJHUV´+HFRPPHQWHGEHQHDWKWKHSKRWR³VWRFNXSQRZ´




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            'LVFRUGZDVULIHZLWKGLVFXVVLRQVE\FRFRQVSLUDWRUVRIZHDSRQVDQGWKHXVHRIHYHU\GD\

   REMHFWVWRLQIOLFWKDUP
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                      Ɣ ³>$@UHDOPDQNQRZVKRZWRPDNHDVKLHOGDGHDGO\ZHDSRQ´

                      Ɣ ³>.@QLYHVDQGJXQVDUHPRUHOHJDOWKDQEOXQWZHDSRQVRUEDWRQVEXWLWV>VLF@
                         EHWWHUWRRQO\FDUU\ZKDWZRXOGRQO\EHSHUFHLYHGDVDGHIHQVLYHWRRO,ILJXUH
                         NQLYHVZRXOGFDXVHWKHSROLFHPRUHDODUPRYHUDFDQRISHSSHUVSUD\RUD
                         UXJJHGDQGDEUDVLYHVKLHOG´

                      Ɣ ³>*@HWVWDQGDUG2&VSUD\,SHUVRQDOO\XVH)R[/DEV´

                      Ɣ ³>5@HPHPEHUWKDWQHZVSDSHUVFDQEH\RXUJUHDWHVWDOO\WRVVDIHZSHQQLHVLQ
                         WKHUHUROOLWXSDQGIROGLWDQGEDP´

                      Ɣ ³>$@YRLGEDWRQVMXVWJHWKDUGZRRGGRZHO WKDWILWVLQ\RXUKDQG IURPD
                         VWRUHDQGFXWLWWRVL]H´

                      Ɣ ³,I\RXJHW39&JHWVFKHGXOHIRUWKLFNHUWKXPSLQJ´

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                         EXWRSHQO\FDUU\LQJREYLRXVZHDSRQU\LVSUREDEO\QRWDJRRGLGHD´

                      Ɣ ³$ZUHQFKZLWKDZULVWODQ\DUGJHWVWKHVDPHMRE>DVDEODFNMDFNELOO\FOXE@
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   VKLHOGVDQGRWKHUVHOIGHIHQVHLPSOHPHQWVZKLFKFDQEHWXUQHGIURPDIUHHVSHHFKWRROWRDVHOI

   GHIHQVHZHDSRQVKRXOGWKLQJVWXUQXJO\´

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   ZLWKDFRXSRQFRGH 81,7(7+(5,*+7 DQGZURWH³)253(23/(127&21&($/('

   &$55<,1*,1&¶9,//(,VHOOVWXQJXQVWDVHUVSHSSHUVSUD\EDWRQVDQGRWKHUVHOIGHIHQVH

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   PHPEHUVWRDWWHQGWKHUDOO\RQLWVRZQ'LVFRUGVHUYHU6RXWKHUQ)URQW$QLQGLYLGXDOZLWKWKH

   XVHUQDPH³7KRPDV5\DQ´RQLQIRUPDWLRQDQGEHOLHI7KRPDV5\DQ5RXVVHDXDOHDGHURI

   9DQJXDUG$PHULFDUHSHDWHGO\XUJHGPHPEHUVWRFRQWDFWKLPGLUHFWO\LIWKH\SODQQHGWRDWWHQG

   WKH³8QLWHWKH5LJKW´HYHQWDQGLIWKH\ZDQWHGWRWUDYHOWRJHWKHULQD³KDWHEXV´VD\LQJ³7KLV

   HYHQWLVD     %,*'($/      DQGRIIHUVDFKDQFHWROLQNXS9DQJXDUG*X\VIURPDFURVVWKH

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   PDWFKLQJNKDNLSDQWVDQGZKLWHSRORVDERXWZKLFKRQHPHPEHURQWKHVHUYHUFRPPHQWHG³,

   OLNHWKHSRORVLW¶VDJRRGILJKWLQJXQLIRUP´5RXVVHDXDOVRWROGKLV9DQJXDUG$PHULFDFR

   FRQVSLUDWRUV³6HOIGHIHQVHLWHPVDUHQRWOLVWHGRQWKHJHDUOLVWVRPHLQGLYLGXDOVZLOOKDYH

   FRQFHDOHGFDUU\VRPHZLOOQRW´2Q$XJXVWRQHFRFRQVSLUDWRUDVNHG³6HULRXVTXHVWLRQZK\

   DUHWKH\VD\LQJQRWWREULQJILUHDUPV"´$QRWKHUUHSOLHG³6RXQGVOLNHWKH\DUHVFDUHGORO,

   DOZD\VFDUU\DFROODSVLEOHEDWRQQRZLW¶VP\QHZIDYRULWH´³7KRPDV5\DQ´UHSOLHG³,W¶V

   FRQFHDOHGFDUU\RQO\&RQFHDOHGNQLYHVKDYHGR]HQVRIODZVDURXQGWKHP2SHQNQLYHVGR

   QRWEXWLWORRNVUHDOO\GXPEWRFDUU\DQRSHQODUJHNQLIHVRZH¶UHQRWGRLQJWKDW1RWVXUH

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   WKHLUOHDGHU5RXVVHDXDOVRXVHGWKH6RXWKHUQ)URQWVHUYHUWRHQFRXUDJH9DQJXDUG$PHULFD

   PHPEHUVWRDWWHQGWKHUDOO\SRVWLQJDOLQNWRWKH'DLO\6WRUPHUDUWLFOH³&KDUORWWHVYLOOH:K\

   <RX0XVW$WWHQGDQG:KDWWR%ULQJDQG1RWWR%ULQJ´$9DQJXDUG$PHULFDPHPEHU

   UHVSRQGHGWR5D\¶VSRVWZLWKDYLROHQWGUDZLQJRI'HIHQGDQW+HLPEDFKZHDULQJDVKLUWEHDULQJ

   1D]LDQG'HIHQGDQW7:3V\PEROVDQGWKHZRUGV³QLJJHUNLOOHU´DERYHDWDOO\RI³FRPPXQLVWV

   NLOOHG´VPLOLQJLQIURQWRIGHFDSLWDWHGEODFNPHQZHDULQJORJRVDVVRFLDWHGZLWKDQWLIDVFLVW

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   VHUYHUDIWHUWKHHYHQWWKDW9DQJXDUG$PHULFDKDGFRRUGLQDWHGZLWK'HIHQGDQW1DWLRQDO6RFLDOLVW

   0RYHPHQWEHFDXVHWKH&KDUORWWHVYLOOHHYHQWZDVDERXWYLROHQFH³,QFYLOOHZHQHHGHGQXPEHUV

   160IRXJKWVRKDUGUHJDUGOHVVRIWKHLURSWLFV'RZHQHHGWKHPDWQRUPLHHYHQWV"1R:H

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   LVVXHGGLUHFWLYHVXVLQJ'DLO\6WRUPHU¶VZHEVLWHLQDGYDQFHRIWKH8QLWHWKH5LJKWZHHNHQG,Q

   DUWLFOHVWLWOHG³2SHUDWLRQDO6HFXULW\IRU5LJKW:LQJ5DOOLHV´DQG³&KDUORWWHVYLOOH:K\<RX


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   0XVW$WWHQGDQG:KDWWR%ULQJDQG1RWWR%ULQJ´³6WRUPHUV´ZHUHWROGWKDWWKH\ZHUHUHTXLUHG

   WREULQJWLNLWRUFKHVDQGVKRXOGDOVREULQJSHSSHUVSUD\IODJSROHVIODJVDQGVKLHOGV

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   RIWKH³UDOOLHV´ZDVVRSHUYDVLYHWKDWWKH&KDUORWWHVYLOOH3ROLFH'HSDUWPHQWUHFHLYHGSULYDWH

   WKUHDWDVVHVVPHQWVIURPWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQLQGLFDWLQJWKDW³8QLWH7KH5LJKW

   VXSSRUWHUVZRXOGEULQJEDWVEDWRQVIODJVWLFNVNQLYHVDQGILUHDUPVWRFRQIURQWWKHLUSROLWLFDO

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   FRQVSLUDWRUVDQGSDUWLFLSDQWVDERXWKRZWRWU\WRDYRLGWKHOHJDOUDPLILFDWLRQVRIWKHLUYLROHQFH

   )RUH[DPSOHWKH\VHWXSDFKDQQHORQ'LVFRUGGHYRWHGWRXQGHUVWDQGLQJ9LUJLQLDODZZKHUHRQH

   FRFRQVSLUDWRUVXJJHVWHGWKDWUDOO\JRHUVEX\VHOIGHIHQVHLQVXUDQFH'HIHQGDQWVDOVRDVVXUHGFR

   FRQVSLUDWRUVWKDWWKH\ZRXOGEHSURWHFWHGZKHQWKH\HQJDJHGLQYLROHQWDFWVLQWHQGHGLQFLWHG

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   IRXQGWKHPVHOYHVDUUHVWHGWKHUHZRXOGEH³PRQH\DQGDOHJDOWHDPVHWDVLGHIRU\RXDIWHU´

   'HIHQGDQW6SHQFHUSXWRXWDFDOOIRUDWWRUQH\VRQKLVZHEVLWHDOWULJKWFRP'DLO\6WRUPHU

   DGYLVHGDWWHQGHHV

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                      \RXUVHOI HDV\ WR VHUYH ZLWK OHJDO SURFHVV OHJDO SURFHVV ZLOO EH
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   ZKLOHDOVRLGHQWLI\LQJUDOO\JRHUVZLWKWKHKDWHJURXSVWRZKLFKWKH\EHORQJ7KH7H[DVDQG


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   EHDULQJUDFLVWDQGDQWL6HPLWLFLPDJHU\'HIHQGDQW.HVVOHUIRUH[DPSOHH[SODLQHG³7KH

   &RQIHGHUDWHIODJLV7+(%(67RSWLFVEHFDXVHLW¶VEHORYHGE\OHJLRQVRI6RXWKHUQHUVZKRDUHRQ

   WKHGRRUVWHSRIEHFRPLQJMXVWOLNHXVLIZHFDQPRYHWKHPEH\RQGµKHULWDJHQRWKDWH¶´

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   LQFOXGLQJLPSHULDOHDJOHVUHPLQLVFHQWRI1D]L*HUPDQ\¶VQDWLRQDOHPEOHPFRQIHGHUDWHIODJVDQG

   PRQXPHQWVDQGFRQIHGHUDWHVROGLHUVLQIRUPDWLRQ




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   FRRUGLQDWLQJDWWHQGDQFHDWWKHUDOO\WKURXJK'LVFRUGWKH'DLO\6WRUPHUZHEVLWHDQGRWKHU

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   FDUSRROVLQ³+DWH9DQ>V@´DQG³IXOOEORZQKDWHFRQYR\>V@´

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   FDQ¶WILQGDZD\JHWRQWKH%%6>D'DLO\6WRUPHUIRUXP@DQGDVNIRUKHOS*RWRWKH%RRN&OXE

   VHFWLRQDQGILQGWKHQHDUHVWERRNFOXEWR\RXDQGSRVWLQWKDWWKUHDGWKDW\RXZDQWWRJREXWQHHG

   DVVLVWDQFH,I\RXKDSSHQWRKDYHKLWDGHDGWKUHDGVWDUWDWKUHDGLQ*HQHUDO'LVFXVVLRQDVNLQJ

   IRUKHOS,I\RXDUHJRLQJDQGKDYHDQH[WUDVHDWRUVHDWVVWDUWDWKUHDGWRRIIHUDULGH´

                  &DQWZHOODVNHGOLVWHQHUVRIKLV5DGLFDO$JHQGDSRGFDVWDQGUHDGHUVRIKLVZHEVLWH

   WRVHQGPRQH\WRKLPLIWKH\³ZDQW>HG@WRKHOS´EXWFRXOGQRWDWWHQGWKH³UDOO\´

                  5RRW%RFNVDQG:H6HDUFKU²VLWHVWKDWZHUHVHWXSWRUDLVHPRQH\IRUKDWHEDVHG

   FDXVHV²IDFLOLWDWHGWKHDWWHQGDQFHRIFRFRQVSLUDWRUV2Q-XO\IRUH[DPSOH5RRW%RFNV

   WZHHWHG³#%DNHG$ODVNDZDVEDQQHGIURP#*R)XQG0HVRJRKHOSKLPRXWKHUH´%DNHG

   $ODVNDDND7LP*LRQHWKDVDGYRFDWHGUDFLDODQGUHOLJLRXVEDVHGYLROHQFHLQFOXGLQJE\

   FLUFXODWLQJDQLPDJHRID-HZLVKZRPDQLQDJDVFKDPEHU'DYLG'XNHDOVRWZHHWHG³+HOSP\

   IULHQG%DNHG$ODVNDJHWWRWKH8QLWH7KH5LJKWUDOO\3OHDVHGRQDWHWRPDNHWKLVKDSSHQ

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   5LJKWV(UD*HRUJH/LQFROQ5RFNZHOOWKHIRXQGHURIWKH$PHULFDQ1D]L3DUW\DQGKLVVXSSRUWHUVGURYHDWZR
   YHKLFOHFDUDYDQWKDWLQFOXGHGDEOXHDQGZKLWHYDQGXEEHGWKH³+DWH%XV´WKURXJKWKH6RXWK7KHH[WHULRURIWKH
   YDQZDVSODVWHUHGZLWKWKHZRUGV³/,1&2/152&.:(//¶6+$7(%86´DQGWKHSKUDVHV³:('2+$7(
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   DWWDFNHGWKH)UHHGRP5LGHUV EODFNDQGZKLWHFLYLOULJKWVDFWLYLVWVZKRURGHLQWHUVWDWHEXVVHVLQDFDPSDLJQRI
   GHVHJUHJDWLRQ DQGKRSHGWRFRQIURQWWKH³&RPPXQLVWQLJJHUORYLQJ´5LGHUVZKHQWKH\DUULYHGLQ1HZ2UOHDQV,Q
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   IRU7UDLWRUV´$IWHU5RFNZHOO¶VDVVDVVLQDWLRQLQWKH$PHULFDQ1D]L3DUW\EURNHLQWRWZRIDFWLRQVRQHRI
   ZKLFKEHFDPHWKH'HIHQGDQW160UXQE\'HIHQGDQW6FKRHS6HH5$<021'$56(1$8/7)5(('205,'(56
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   ZLWK'HIHQGDQW3HLQRYLFK'HIHQGDQW0RVOH\WROGOLVWHQHUVWKDWWKH\¶GEHVHWWLQJXSDJHQHUDO

   OHJDOIXQGXVLQJ5RRWERFNV2QWKDWVDPHSURJUDP0RVOH\WROGOLVWHQHUVKRZWRJHWKHOSZLWK

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   RQ6DWXUGD\$IWHUFRQVXOWLQJZLWK'HIHQGDQW.HVVOHU7\URQHWRRNUHVSRQVLELOLW\IRUKHOSLQJ

   RUJDQL]HVKXWWOHV2QHFRFRQVSLUDWRULQVWUXFWHG'LVFRUGSDUWLFLSDQWV³1RERG\LVJRLQJWRWKH

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   UHOLJLRXVOHDGHUVDQGFRPPXQLW\RUJDQL]HUVDQGRUJDQL]DWLRQV&RQJUHJDWHSODQQHGDQLQWHUIDLWK

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   SULRUWRWKH8QLWHWKH5LJKWZHHNHQG,QGRLQJVR.HVVOHULQWHQGHGWRKDYHRWKHUVWKUHDWHQDQG

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   ZRPDQJLYLQJWKHPLGGOHILQJHUWRDPDQLQDFRQIHGHUDWHDUP\XQLIRUPDSURPLQHQWPHPEHURI

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   YRLFHRIIHUHGD³VROLGJROGPHGDO´WRDQ\SHUVRQZKRZRXOGVKDYHWKH³%HDUGHG/DG\´UHIHUULQJ

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   UHDVRQDEOHIHDUDQGDSSUHKHQVLRQRI'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVWKH7HPSOHPDGHWKH

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   KRXUVRWKDWLWFRXOGFORVHLQWKHDIWHUQRRQZKHQ'HIHQGDQWVDQGRWKHUQHR1D]LVDQGZKLWH

   VXSUHPDFLVWVZHUHH[SHFWHGWREHLQ&KDUORWWHVYLOOH7KH7HPSOHWRRNIXUWKHUVDIHW\SUHFDXWLRQV

   LQFOXGLQJKLULQJDVHFXULW\JXDUGWRNHHSWKHFRQJUHJDWLRQVDIHZKLOHWKH\ZHUHWKHUHIRU

   VHUYLFHVUHGLUHFWLQJVXEVWDQWLDOUHVRXUFHV

             6WRUHVUHVWDXUDQWVDQGEDUVDURXQGWRZQFUHDWHGVLJQVWKDWWKH\SRVWHGLQWKHLU

   ZLQGRZVVKRZLQJWKHEXVLQHVVHV¶VXSSRUWIRUHTXDOLW\DQGGLYHUVLW\7KRVHVWRUHVDQG

   UHVWDXUDQWVZHUHDOVRWDUJHWHGE\'HIHQGDQWV

             ,Q-XQHIRUH[DPSOH'HIHQGDQW.HVVOHUHQFRXUDJHG'LVFRUGSDUWLFLSDQWVWR

   REWDLQWKHQDPHVRIORFDOEXVLQHVVHVZKRVHRZQHUVVLJQHGDSHWLWLRQWRDVNWKHJRYHUQPHQWWR

   FDQFHO.HVVOHU¶VSHUPLW,Q$XJXVWFRFRQVSLUDWRU*ULIILQWZHHWHGDERXWWDUJHWLQJDORFDO

   UHVWDXUDQW%UD]RV7DFRV'HIHQGDQW0RVOH\DOVRWZHHWHGDERXWWDUJHWLQJVHYHUDOUHVWDXUDQWV

   QDPHO\%UD]RV7DFRV&LQHPD7DFR&RPPRQZHDOWK5HVWDXUDQWDQG6N\EDU0XGKRXVHDQGWKH

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   VLJQLQWKHZLQGRZUHDGLQJ³,IHTXDOLW\ GLYHUVLW\DUHQ¶WIRU\RXWKHQQHLWKHUDUHZH´2Q

   $XJXVW'HIHQGDQW3HLQRYLFKWZHHWHG³'RWKHVHZKLWHEXVLQHVVRZQHUVDQGVKLWOLEVLQ&9LOOH

   WKLQNWKDWWKHLUYLUWXHVLJQDOLQJPHDQWKH\ZLOOEHVSDUHGVRPHKRZ"/RO´

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   DQGIROORZHUVZRXOGWKUHDWHQWKHVHEXVLQHVVHV$QXPEHURIWKHVHEXVLQHVVHVWKHUHDIWHUUHFHLYHG

   LQSHUVRQDQGPDLOHGWKUHDWV




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            ,QWLPLGDWLRQ7KH\+DG3ODQQHG

   $      )ULGD\$XJXVW

                    7KH³6HFUHW´7RUFK3DUDGH

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   ,QYLFWXVDORQJZLWKWKHLUFRFRQVSLUDWRUVRUJDQL]HGDWRUFKOLJKWPDUFKWKURXJKFDPSXV

   FXOPLQDWLQJDWWKHVWDWXHRI7KRPDV-HIIHUVRQQHDUWKH5RWXQGDRQ$XJXVWDWWKH*URXQGVDW

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             7KHSHUPLW'HIHQGDQW.HVVOHUDSSOLHGIRUDQGUHFHLYHGZDVIRUWKHIROORZLQJGD\

   $XJXVWLQ(PDQFLSDWLRQ3DUN'HIHQGDQWVGLGQRWSXEOLFO\GLVFORVHWKHWLPHRUORFDWLRQIRU

   WKH$XJXVWWRUFKSDUDGH³EHFDXVHLWZDVDVHFUHWDUUDQJHPHQW´

             7KHWRUFKSDUDGHZDVWKHUHVXOWRIZHHNVRISODQQLQJE\'HIHQGDQWVDQGFR

   FRQVSLUDWRUV7KH\KDGHVWDEOLVKHGDIULGD\BQLJKWFKDQQHORQ'LVFRUGWRFRRUGLQDWHDWWHQGDQFH

   GUHVVFRGHDQGSODQV7KH\DGYLVHGFRFRQVSLUDWRUVWKDWWKHHYHQWZDVLQWHQGHGWREHDVHFUHW

   DQGWKDWWKH\VKRXOGEULQJWRUFKHV

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                  7LNL7RUFKHV<HV±UHTXLUHG3LFNXSWLNLWRUFKHVEHIRUH\RXOHDYH
                  \RXUKRPHWRZQ7KHUHZLOOEHDWRUFKOLJKWFHUHPRQ\DQGWKHWLNL
                  WRUFKHVZLOODOOEHJRQHIURPWKHVKHOYHVRIWKHORFDOVWRUHV'ROODU
                  VWRUHVDUH\RXUEHVWEHW:DO0DUWKDVWKHPFKHDSDVZHOO0DNH
                  VXUH DQG JHW VRPH WLNL WRUFK IXHORLO WRR  2WKHUZLVH WKH\ ZRQ¶W
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             2QDSODQQLQJFDOOFRQGXFWHGWKURXJK'LVFRUG'HIHQGDQW0RVOH\LQVWUXFWHG

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   GRHVQ¶WKDYHWLNLVWXIIQRZVKRXOGJRRXWDQGJHWLWWRQLJKWRUWRPRUURZPRUQLQJDQGLI\RX

   FRXOGJHWH[WUDVWKDWZRXOGEHJUHDW´'HIHQGDQW.HVVOHURUGHUHGDWWHQGHHVWREX\WRUFKHVIRU


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   )ULGD\EXWWRGRVRRXWVLGHRI&KDUORWWHVYLOOHVRWKDWWKH\ZRXOGQRW³WLSRXUHQHP\RII´+H

   LQVWUXFWHGWKDWSHRSOH³EX\H[WUDVIRUWKRVHZKRDUHIO\LQJLQRUXQSUHSDUHG´

             'HIHQGDQW0RVOH\RUGHUHGLQGLYLGXDOVWRDUULYHDW1DPHOHVV)LHOGDODUJHDUHD

   EHKLQG89$¶V0HPRULDO*\PQDVLXPDWSPVRWKDWWKH\FRXOGPDUFKRQFHGDUNQHVVIHOO

   DWSP+HWROGWKHPQRWWRDUULYHHDUOLHUWRDYRLGWLSSLQJRIIFRXQWHUSURWHVWRUVDQG

   VWUHVVHGWKDW³LW¶VH[WUHPHO\LPSRUWDQWWKDWQRERG\PHQWLRQWKLVRXWVLGHRXUFLUFOH´

             :KLOHSODQQLQJWKHLUWRUFKOLJKWPDUFK'HIHQGDQWVZHUHDZDUHRIWKHIDFWWKDW

   RSHQILUHVDUHLOOHJDORQ89$¶VFDPSXVZLWKRXWDXWKRUL]DWLRQ1HDUO\RQHPRQWKEHIRUHWKH

   SODQQHGWRUFKOLJKWPDUFKD'LVFRUGSDUWLFLSDQWSRVWHGDOLQNWR89$¶VJXLGHOLQHVDJDLQVWRSHQ

   ILUHV$FRFRQVSLUDWRUDQGPRGHUDWRURQ'LVFRUG³SLQQHG´WKHUHJXODWLRQWRWKHFKDWPHDQLQJ

   WKDWLWZDVKLJKOLJKWHGIRUSDUWLFLSDQWV

             7KHFKRLFHWRXVHOLWWRUFKHVZDVDGHOLEHUDWHGHFLVLRQWRKDUDVVDQGLQWLPLGDWHWKH

   SHRSOHRI&KDUORWWHVYLOOHDQGFRXQWHUSURWHVWHUVHVSHFLDOO\SHRSOHRIFRORUDQG-HZLVKSHRSOH

   'HIHQGDQWVDQGFRFRQVSLUDWRUVLQWHQWLRQDOO\GUHZRQWKHKLVWRU\RIWRUFKEHDULQJPREVDQGLQ

   SDUWLFXODUWKH.X.OX[.ODQ¶VXVHRIWRUFKHVLQWKHODWHVDQGLQWKHWZHQWLHWKFHQWXU\DQG

   WKH1D]L¶VXVHRIWRUFKHVLQWKHLUUDOOLHVLQWKHV,QERWKKLVWRULFDOFDVHVMXVWDVZLWKFURVV

   EXUQLQJWKHXVHRIWRUFKHVZDVFRQQHFWHGZLWKUDFLDOYLROHQFHWRUFKHVZHUHFKRVHQE\

   'HIHQGDQWVDQGFRFRQVSLUDWRUVDVSDUWRIDGHOLEHUDWHSODQWRHYRNHIHDURIWKHVDPHNLQGRI

   YLROHQFH$VRQHFRFRQVSLUDWRURQ'LVFRUGH[SODLQHG³7LNLWRUFKHVDUHWKHODVWVWDQGRI

   LPSOLFLWZKLWHQHVV´'HIHQGDQW5D\H[SODLQHGWKHSXUSRVHRIWKHWRUFKSDUDGHDVIROORZV³2XU

   FRXQWU\LVEHLQJXVXUSHGE\DIRUHLJQWULEHFDOOHGWKH-HZV:HDUHJRLQJWRVWRSLW´'HIHQGDQW

   ,QYLFWXVH[SODLQHGWRDUHSRUWHU³6RPHERG\IRUJRWWKHSLWFKIRUNVDWKRPHVRDOOZHJRWLV

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   JDWKHUHGDWD:DOPDUWRXWVLGHRI&KDUORWWHVYLOOH&DQWZHOOWKHQWUDYHOOHGWR0F,QWLUH3DUNWR

   SUHSDUHIRUWKHHYHQLQJ,QDQLQWHUYLHZZLWKDUHSRUWHUIURPVice&DQWZHOOVDLG³,¶PWU\LQJWR

   PDNHP\VHOIPRUHFDSDEOHRIYLROHQFH,¶PKHUHWRVSUHDGLGHDVWDONLQWKHKRSHVWKDW

   VRPHERG\PRUHFDSDEOHZLOOFRPHDORQJDQGGRWKDW´

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   WKH\VKRXOGJRWR89$³(YHU\RQHFDQVWDUWDVVHPEOLQJDWQDPHOHVVILHOGULJKWQRZZLWK\RXU

   WRUFKHVWRVWDUWVWDJLQJ:HZLOOVWHSRIIIURPWKHILHOGDWSP´

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   VXSUHPDFLVWV²'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV²EHJDQDUULYLQJDW1DPHOHVV)LHOG7KH\

   FDUULHGXQOLWWLNLWRUFKHVDQGPDQ\ZRUHNKDNLSDQWVDQGZKLWHSRORVKLUWV WKHXQLIRUPRI

   'HIHQGDQW9DQJXDUG$PHULFD DQGSLQVPDUNLQJWKHLUDIILOLDWLRQVZLWKGLIIHUHQWKDWHJURXSV$

   OLWWOHDIWHUSP'HIHQGDQW6SHQFHUWH[WHGDUHSRUWHU³,¶GEHQHDUFDPSXVWRQLJKWLI,ZHUH

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   DQRYHUIORZFURZGRIDQHVWLPDWHGSHRSOH'R]HQVRIORFDODQGQDWLRQDOFOHUJ\PHPEHUV

   YLVLWLQJ&KDUORWWHVYLOOHIRUWKHZHHNHQGSDUWLFLSDWHGDQGVSRNHDWWKHVHUYLFH

             3ODLQWLII-RKQ'RHDORQJZLWKRWKHU89$VWXGHQWVSHDFHIXOO\ZDONHGWRWKH

   5RWXQGDZKHUH'HIHQGDQWVZHUHEHOLHYHGWREHKROGLQJWKHLUHYHQW

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   OHDUQHGWKDW'HIHQGDQWVZRXOGEHKROGLQJDUDOO\RQWKH89$FDPSXVDWWKH5RWXQGD:LWKD

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   WKHLUFRFRQVSLUDWRUVEDUNLQJDQGJUXQWLQJORXGO\PDNLQJVRXQGVWKDWUHVRQDWHGIRUEORFNV

   'HIHQGDQWV&DQWZHOO.HVVOHU5D\DQGRWKHUFRFRQVSLUDWRUVZHUHLVVXLQJRUGHUVWRWKHRWKHU

   ZKLWHVXSUHPDFLVWVDQGQHR1D]LVWHOOLQJWKHPWRJHWLQVSHFLILFIRUPDWLRQVDQGDVVLJQLQJ

   SHRSOHHLWKHUWRPDUFKZLWKDWRUFKRURQWKHVLGHDV³VHFXULW\´

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   ORQJFROXPQDQGOLWWKHIODPHV7KH\WKHQVWDUWHGPDUFKLQJWZRE\WZRIURP1DPHOHVV)LHOGWR

   WKH5RWXQGDDQGGRZQWRWKH-HIIHUVRQ6WDWXH'HIHQGDQWVDQGFRFRQVSLUDWRUVGHOLEHUDWHO\WRRN

   DFLUFXLWRXVURXWHWKDWLQFOXGHGPDUFKLQJWKURXJKVWXGHQWKRXVLQJRQWKH/DZQZKLFK3ODLQWLII

   6LQHVREVHUYHGDQGZKLFKZDVLQWHQGHGWRWKUHDWHQLQWLPLGDWHDQGKDUDVVDVPDQ\E\VWDQGHUV

   DVSRVVLEOH

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   7KH\VKRXWHGWRNHHSSDFHDYRLGJDSVVWD\LQOLQH³WZRE\WZR´DQGPDUFKDORQJVLGHD

   ³VHFXULW\JXDUG´'HIHQGDQW,QYLFWXVVDLGLWZDVD³WLJKWRSHUDWLRQ´DQGLQKLVOLYHYLGHRIHHG

   IUHTXHQWO\HQWKXVHG³KLJK7´PHDQLQJKLJKWHVWRVWHURQH

             'HIHQGDQW&DQWZHOOPDUFKHGRQWKHRXWVLGHRIWKHFROXPQDORQJZLWKRWKHU

   ³JXDUGV´ZKRZHUHVHOHFWHGIRUWKHLUZLOOLQJQHVVWR³JHWSK\VLFDO´ZLWKFRXQWHUSURWHVWRUV

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   LQWLPLGDWLQJDQGUDFLDOO\KDUDVVLQJHIIHFW7KHVHVORJDQVLQFOXGHG³<RXZLOOQRWUHSODFHXV´

   ³-HZVZLOOQRWUHSODFHXV´³%ORRGDQGVRLO´³:KLWHOLYHVPDWWHU´DQG³7KLVLVRXUWRZQQRZ´

   5RPHURDOVRKHDUGWKHPDUFKHUVFKDQW³JREDFNWRZKHUH\RXFDPHIURP´DQDSSDUHQWUHIHUHQFH

   WR5RPHUR¶V+LVSDQLFKHULWDJH

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   DFWLRQVZHUHLQWHQWLRQDOO\FKRVHQIRUWKHLUUDFLDOO\WKUHDWHQLQJLQWLPLGDWLQJDQGKDUDVVLQJHIIHFW

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   SHRSOHEODFNSHRSOHDQGWKHLUDOOLHVVKRXOGEHDIUDLGIRUWKHLUVDIHW\OLYHOLKRRGVDQGOLYHV

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   +XQGUHGVRIQHR1D]LVDQGZKLWHVXSUHPDFLVWVLQFOXGLQJ'HIHQGDQWV.HVVOHUDQG6SHQFHU

   FKDUJHGWRZDUGDVPDOOJURXSRIIHZHUWKDQSHRSOHPRVWO\VWXGHQWVDQGFRPPXQLW\

   PHPEHUVLQFOXGLQJ3ODLQWLIIV-RKQ'RHDQG5RPHURZKRKDGORFNHGDUPVDURXQGWKHVWDWXHRI

   7KRPDV-HIIHUVRQ

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   5RWXQGDDQGVWUHDPHGWRZDUGWKH-HIIHUVRQVWDWXHWKH\FRQWLQXHGWRVKRXW³%ORRGDQGVRLO´

   ³-HZVZLOOQRWUHSODFHXV´DQG³<RXZLOOQRWUHSODFHXV´DQGWREDUNOLNHGRJV7KH\DOVRPDGH

   PRQNH\QRLVHVDWWKHEODFNSURWHVWHUV3ODLQWLII-RKQ'RHRQHRIWKHIHZ$IULFDQ$PHULFDQPHQ

   SUHVHQWZDVWHUULILHGDQGIHDUHGIRUKLVOLIH3ODLQWLII5RPHURRQHRIWKHIHZ+LVSDQLF

   $PHULFDQVSUHVHQWKDGQHYHUEHHQPRUHDIUDLGLQKHUHQWLUHOLIH

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   VKRXOGHUDQGHQFLUFOHGWKHVWXGHQWVWRWUDSWKHP6HHLQJWKHPREVXUURXQGWKHVWXGHQWV3ODLQWLII

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   FODLPHGWKDWWKHJURXSRIZKLWHVXSUHPDFLVWV³ZHQWWKURXJK>WKHSURWHVWRUV@OLNHVKLWWKURXJKD

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   VKRXWHG³7KHKHDWKHUHLVQRWKLQJFRPSDUHGWRZKDW\RX¶UHJRLQJWRJHWLQWKHRYHQV´

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   DVDQ$IULFDQ$PHULFDQPDQLIKHKDGWULHGWRHVFDSHEHIRUHWKHJURXSGLVSHUVHGKHZRXOGKDYH

   EHHQDWWDFNHG)RUDSSUR[LPDWHO\WHQPLQXWHVKHUHPDLQHGLQSODFHDQGZKLOHFRQILQHGZLWKLQ

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   WKDWKDGEHHQVSUD\HGLQKHUH\HVDQGDOORYHUKHUVKRXOGHUVE\'HIHQGDQWVDQGFRFRQVSLUDWRUV

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   6SHQFHUVSRNHEULHIO\WRWKHFURZGVD\LQJ³:HRZQWKHVHVWUHHWV:HRFFXS\WKLVJURXQG´

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   WKHXQODZIXOSODQGHYHORSHGE\'HIHQGDQWVWKURXJKWKHLUFRQVSLUDWRULDODFWVLQWKHZHHNVDQG

   PRQWKVSUHFHGLQJWKHVHHYHQWVDQGDVRSHUDWLRQDOL]HGDQGPRGLILHGE\'HIHQGDQWVLQUHVSRQVH

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   ZDVSODQQHGZLWKWKHVSHFLILFLQWHQWRIHQJDJLQJLQUDFLDOO\PRWLYDWHGYLROHQFHWKUHDWV

   LQWLPLGDWLRQDQGKDUDVVPHQW7KHDWWDFNVXSRQWKHVWXGHQWVZHUHFRRUGLQDWHGERWKLQDGYDQFH

   DQGRQWKHGD\WKDWWKH\RFFXUUHG'HIHQGDQWVDQGFRFRQVSLUDWRUVLQWHQWLRQDOO\IRUPHGDFLUFOH

   WUDSSLQJWKHVWXGHQWVDQGHLWKHUGLUHFWO\SDUWLFLSDWHGLQWKHHQVXLQJYLROHQFHRUFRQWLQXHGWR

   LQFLWHLW²LQFOXGLQJWKURXJKWKHFKDQWVGHVFULEHGDERYH²DVWKHYLROHQFHZDVRFFXUULQJ

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   3DXO¶V&KXUFKOLVWHQLQJWRFLYLOULJKWVDQGUHOLJLRXVOHDGHUVVSHDNRISHDFHDQGHTXDOLW\$WOHDVW

   RQHZKLWHVXSUHPDFLVW'HIHQGDQWV¶FRFRQVSLUDWRUZDVZLWKLQWKHFKXUFKOLYHVWUHDPLQJWKH

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   VSHFLILFDOO\WDUJHWHG&RQJUHJDWHLQDGYDQFHIRUKDUDVVPHQWDQGLQWLPLGDWLRQ

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   LQGLYLGXDOVZKRZHUHSDUWLFXODUO\YXOQHUDEOHWRDQ\YLROHQFHWKDWFRXOGRFFXU$FFRUGLQJO\D

   IHZPLQXWHVODWHUHYHU\RQHDW6W3DXO¶VZDVDVNHGWRUHWXUQWRWKHLUVHDWV7KH\UHPDLQHGLQWKH

   FKXUFKIRUQHDUO\DQKRXUDIWHUWKHVHUYLFHZDVVXSSRVHGWRHQG

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   IHOORZFOHUJ\EDFNWRWKHLUKRWHOVWRPDNHVXUHWKH\ZHUHVDIH)URPKLVFDU:LVSHOZH\VDZFR

   FRQVSLUDWRUVFDUU\LQJEDVHEDOOEDWVDQGWRUFKHV²FDUULHGIRUWKHSXUSRVHRIWKUHDWHQLQJ

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   ZDVZHDULQJDFROODUXQWLOWKH\ZHUHPHUHLQFKHVDSDUW,QYLFWXVNHSWPRYLQJIRUZDUGHYHQDV

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   ZURWH³,QFUHGLEOHPRPHQWIRUZKLWHSHRSOHZKR¶YHKDGLWXSWRKHUH DUHQ¶WJRLQJWRWDNHLW

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   9$PHPEHUVVDIHDQGDFFRXQWHGIRU´ZKLOHDQRWKHUFRFRQVSLUDWRUZURWH³,KDGDORWRIIXQ

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   ZURWHRQKLV'DLO\6WRUPHUZHEVLWHWKDWSHRSOHVKRXOG³EHDW/HH3DUNE\QRRQSUHIHUDEO\E\

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   KDUDVVPHQW'HIHQGDQWV.HVVOHU&DQWZHOO0RVOH\+HLPEDFK+LOO,QYLFWXV5D\6SHQFHU

   'DPLJR3HLQRYLFK)LHOGV3DUURWW7XEEVWKH1DWLRQDOLVW)URQW/HDJXHRIWKH6RXWK160

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   6WRUPHUV PDQ\RIWKHPIURP6WRUPHU%RRN&OXEV DOOSDUWLFLSDWHGLQWKHYLROHQWHYHQWVRIWKH

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   UHVWRI7:3DQG/6>/HDJXHRIWKH6RXWK@KDYHEHHQWRPRUHWKDQRQHURGHR$QGVKLW160

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   SDUNDVHDUO\DVSRVVLEOHDQGGHIHQGRXUWHUULWRU\´+HVXJJHVWHGWKDWFDPSLQJRXWDWWKH

   PRQXPHQWWKHQLJKWEHIRUHZRXOGJLYHWKHP³>W@KHPRVWH[WUHPHO\SUHSDUHGSRVLWLRQ´,QWKHVH



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   UHPDUNV.HVVOHUUHIHUUHGWR DQGDFWLYHO\HQFRXUDJHG SUHSDUDWLRQIRUYLROHQFHDJDLQVWUDFLDODQG

   UHOLJLRXVPLQRULWLHVDQGDQ\RQHZKRVXSSRUWHGWKHLUFDXVH

              $FRFRQVSLUDWRUDVNHGWKH'LVFRUGJURXS³6RDUHZHJRLQJWRRFFXS\YHU\

   HDUO\"2UWU\DQGIRUFHWKLVFRPPLHVFXPRXWDIWHUWKHIDFW",¶PJRRGZLWKHLWKHU´$QRWKHU

   SDUWLFLSDQWUHVSRQGHG³:HZLOOEHILQHDVORQJDVZHKDYHERGLHVWKHUHDQGZLOOLQJWRUHPRYH

   ZKRHYHULVLQRXUZD\9DQJXDUGLVIDEULFDWLQJDGGLWLRQDOVKLHOGV:HVKRXOGKDYHDJRRG

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   IRUPDWLRQUROHVDQGFRPPDQGVWRDOORIWKHJURXSOHDGHUVVKRUWO\´DQGSRVWHGD³6KLHOGV 

   6KLHOG7DFWLFV3ULPHU´PDGHE\WKH³'HWURLW5LJKW:LQJV´DVZHOODVDYLGHRLOOXVWUDWLQJVKLHOG

   ILJKWLQJWHFKQLTXHVWREHVWXGLHGE\SDUWLFLSDQWV'HIHQGDQW0RVOH\VDLG³,UXQWKLV>WKH8QLWH

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   DQG9DQJXDUG$PHULFDPHWDWDSUHVHWORFDWLRQLQRUGHUWRPDUFKWR(PDQFLSDWLRQ3DUNLQ

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   SRORVDQGNKDNLVDQGZLHOGHGPDWFKLQJVKLHOGVDQGIODJV'HIHQGDQW)LHOGV ZKRZDVZHDULQJ

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   ZLOOQRWUHSODFHXV´

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   PDUFKHGWRZDUGV(PDQFLSDWLRQ3DUNWKH\VKRXWHGWKUHDWHQLQJKDUDVVLQJDQGLQWLPLGDWLQJ

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   VWDWHPHQWVOLNH³*HWWKHIXFNRXWRIRXUFRXQWU\ELWFKHV<HDKFRPHXSWRPH&RPHXSWRPH

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   V\QDJRJXHZKHUH3ODLQWLII3HDUFHLVDPHPEHU'XULQJWKH6KDEEDWVHUYLFHVWKUHHFR

   FRQVSLUDWRUVLQXQLIRUPVDQGVHPLDXWRPDWLFULIOHVVWRRGDFURVVIURPWKHWHPSOH$VRWKHUV

   SDUDGHGSDVWWKH\VKRXWHG³7KHUH¶VWKHV\QDJRJXH´IROORZHGE\FKDQWVRI³6LHJ+HLO´DQG

   RWKHUDQWL6HPLWLFODQJXDJH6RPHFDUULHGIODJVZLWKVZDVWLNDVDQGRWKHU1D]LV\PEROV

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   ZLWKWKHEURDGHUFDPSDLJQRIUDFLDODQGUHOLJLRXVVXSSUHVVLRQDWWKHKHDUWRI'HIHQGDQWV¶

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                      YHQXHLWVHOIZKLOHWKH\ZHUHODUJHO\VWLOOUHHOLQJ0LFKDHO7XEEVDQ
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   LQVLGH(PDQFLSDWLRQ3DUNOHGE\DPRQJRWKHUV'HIHQGDQWV6FKRHS+LOO+HLPEDFKDQG

   3DUURWW'HIHQGDQW3DUURWWH[SODLQHGWKDWWKH\KDG³VWXFNZLWKWKHRULJLQDOSODQWRGHILQHDQG

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   SHRSOHDQGNQRFNWKHPRYHU7KH\XVHGURGVDQGIODJVWRDVVDXOWSURWHVWHUV


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   'DLO\6WRUPHUWKURXJKDOLYHIHHGPDLQWDLQHGE\'HIHQGDQWV$QJOLQDQG5D\DQGRWKHU'DLO\

   6WRUPHUVWDIIRQWKHJURXQGHQFRXUDJHGIROORZHUVWRRUJDQL]HLQJURXSVDQGGHOLEHUDWHO\LQFLWHG

   WKHPWRHQJDJHLQYLROHQWDFWV$PRQJRWKHUH[KRUWDWLRQVWKH\WROGIROORZHUV³:+,7(

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   )URQWVHUYHUVKDULQJOLYHIHHGVWUHDPVDQGHQFRXUDJLQJFRFRQVSLUDWRUVRQWKHJURXQGLQ

   &KDUORWWHVYLOOHWR³-XVWLQFLWHDULRWDOUHDG\´2QHFRFRQVSLUDWRURQWKH$QWLFRP'LVFRUGVHUYHU

   UHSRUWHGWRWKHJURXS³9DQJXDUGVKLHOGVDUHKROGLQJWKHOLQH´

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   DQGWKHLUFRFRQVSLUDWRUV3ODLQWLII3HDUFHVWUXJJOHGZLWKZKHWKHUVKHVKRXOGDWWHQGWKHSHDFHIXO

   SURWHVWDQGZKHWKHUVKHVKRXOGLGHQWLI\KHUVHOIDV-HZLVK2QWKHRQHKDQGVKHEHOLHYHGWKDWLW

   ZDVLPSRUWDQWWRSHDFHIXOO\SURWHVWEXWVKHDOVRIHDUHGIRUKHUVDIHW\$VVKHOHIWKHUKRXVHVKH

   PDGHD6WDURI'DYLGRXWRIGXFWWDSHDQGDWWDFKHGLWWRKHUVKLUWZKLFKERUHD+HEUHZOHWWHULQ

   UDLQERZFRORUVWRVKRZKHUVXSSRUWIRUWKH/*%7FRPPXQLW\6KHZHQWWR(PDQFLSDWLRQ3DUN

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   SRLQWHGDWKHUDQGVKRXWHG³2KJRRGWKH\DUHPDUNLQJWKHPVHOYHVIRUXVVRLWLVHDV\WRILQG

   WKHP´$WWKH3DUN3HDUFHZDVMRLQHGE\KHUVRQZKRDOVRZRUHD6WDURI'DYLGDQGFDUULHGD

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   KDGHQFRXUDJHGRWKHUVWR³>S@HHLQEDOORRQVDQGWKURZWKHPDWFRPPXQLVWV,QVHOIGHIHQVH´

   DQGWR³>I@HHOIUHHWRXULQDWHDQGGHIDFDWHRQ\RXUQHDUHVWDQWLIDWHUURULVWIDJJRWSXVV\´7KH

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   SHRSOHZLWKFOXEVVPRNHERPEVDQGSHSSHUVSUD\LQIXOILOOPHQWRIWKHLUSUHPHGLWDWHGVWUDWHJ\

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                      &R&RQVSLUDWRUV,QWHQWLRQDOO\6SUHDGWKH9LROHQFH2XWVLGH(PDQFLSDWLRQ3DUN

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   9LUJLQLDODZDV³ZKHQHYHUWKUHHRUPRUHSHUVRQVDVVHPEOHGVKDUHWKHFRPPRQLQWHQWWRDGYDQFH

   VRPHODZIXORUXQODZIXOSXUSRVHE\WKHFRPPLVVLRQRIDQDFWRUDFWVRIXQODZIXOIRUFHRU

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   QRZFOHDUWKDWSXEOLFVDIHW\FDQQRWEHVDIHJXDUGHGZLWKRXWDGGLWLRQDOSRZHUVDQGWKDWWKH

   PRVWO\RXWRIVWDWHSURWHVWRUVKDYHFRPHWR9LUJLQLDWRHQGDQJHURXUFLWL]HQVDQGSURSHUW\,DP

   GLVJXVWHGE\WKHKDWUHGELJRWU\DQGYLROHQFHWKHVHSURWHVWRUVKDYHEURXJKWWRRXUVWDWHRYHUWKH

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   SDUDVLWLFFODVVRIDQWLZKLWHYHUPLQWKDWWKLVLVRXUFRXQWU\7KLVFRXQWU\ZDVEXLOWE\RXU

   IRUHIDWKHUV,WZDVVXVWDLQHGE\XV,W¶VJRLQJWRUHPDLQRXUFRXQWU\´

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   H[SODLQHG³,ZDVRIIHUHGDULGHWRVDIHW\DQGGHFOLQHGWROHDYHXQWLOWKHZRPHQDQGRWKHUVZHUH

   VDIHVRZHMXVWPDUFKHGEDFNWKURXJKDQWLID:HZHQWULJKWWKURXJK>DQWLID@OLNHZDUULRUV´

   'HIHQGDQW3DUURWWUHIXVHGWROHDYH(PDQFLSDWLRQ3DUNDQGZDVDUUHVWHGE\WKHSROLFHIRUIDLOLQJ

   WRGLVSHUVH3DUURWWGHVFULEHGKLVGHWHQWLRQDVEHLQJ³DSROLWLFDOSULVRQHUIRUDERXWPLQXWHV´

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   PHVVDJHZDVFKRNHGE\FRFRQVSLUDWRU6WHYHQ%DOFDLWLVZKRZDVZHDULQJDWVKLUWDGYHUWLVLQJD

   ZKLWHQDWLRQDOLVWDQGDQWL6HPLWLFZHEVLWH5HG,FH$VKHJUDEEHGKHUQHFNKHORRNHGDWD

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   JRQQDVHQGSHRSOHZLWKORQJULIOHVEDFNWRWKDWVWDWXH´$FFRUGLQJWRD'HIHQGDQW160

   WZLWWHUDFFRXQW'HIHQGDQW6FKRHS³OHGDJURXSRIEDFNWKHPLOHVIURPWKHQGSDUNEDFN

   WR/HH3DUNWKURXJK$QWLIDDQGSROLFHLQWHUIHUHQFH´7KH\MHHUHG³6RPXFKUHVSHFWIRUP\

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   DQGEHJDQWRWHUURUL]HUHVLGHQWVLQWKHGRZQWRZQDUHDRI&KDUORWWHVYLOOHQHDUWKHSHGHVWULDQPDOO

   0XxL]ZHDULQJDWVKLUWZLWKDUHSUHVHQWDWLRQRIZRPHQRIFRORUZLWQHVVHGWKHPDUFKHUVZDON

   EDFNWRWRZQIURP0F,QWLUH3DUNDQGWKHQIROORZHGKHUVHOIWRMRLQDJURXSRISHDFHIXOFRXQWHU

   GHPRQVWUDWRUV

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   FRQVSLUDWRUIRUH[DPSOHZDVFDXJKWRQYLGHRSXQFKLQJWZRSHDFHIXOFRXQWHUSURWHVWRUVGLUHFWO\

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   SURWHVWFDWFKSKUDVHDQGVKRZVXSLQPHPHVDQGFRPPHQWVDFURVVWKH,QWHUQHW,QODWH-DQXDU\

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   RULJLQDOO\DSSHDUHGRQWKH'DLO\&DOOHUZURWH³+HUH¶VDFRPSLODWLRQRIOLEHUDOSURWHVWHUVJHWWLQJ

   SXVKHGRXWRIWKHZD\E\FDUVDQGWUXFNV´DQG³6WXG\WKHWHFKQLTXHLWPD\SURYHXVHIXOLQWKH

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   DQGRWKHUV'HIHQGDQW+HLPEDFKHQFRXUDJHGDSROLFHFDUWRPRZGRZQSHDFHIXOSURWHVWRUV$QDUWLFOHUHSRUWVWKDW
   +HLPEDFKZDVZDONLQJQHDUWKHSDUDGHURXWHZKHQKHHQFRXQWHUHGDJURXSRIGHPRQVWUDWRUVKROGLQJVLJQVDERXW
   ZDWHUSUHVHUYDWLRQ$EODFN689ZLWKSROLFHSODWHVGURYHXSDQGVWRSSHGLQIURQWRIWKHGHPRQVWUDWRUV$QRIILFHU
   OHDQHGRXWWKHZLQGRZDQGDVNHGWKHPWRVWHSDVLGHVRWKDWWKH\FRXOGSDVV³'RQ¶WVWRSRIILFHU´VKRXWHG
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   'LVFRUGIRUH[DPSOHLQUHVSRQVHWRDSRVWIURP7\URQHWKDWLI³VRPHWKLQJKDSSHQV

   DGMXVWPHQWVZLOOKDYHWREHPDGHWRUHPRYHSHRSOHIURPWKHVFHQH´FRFRQVSLUDWRU

   ³$OW&HOW ,/ ´UHVSRQGHGZLWKDQLPDJHIURPDIDPRXVVFHQHLQWKHPRYLHDawn of the DeadLQ

   ZKLFKWKHSURWDJRQLVWVUHWURILWEXVHVZLWKFKDLQVDZVDQGEDUEHGZLUHWRHVFDSHDPDOOE\UXQQLQJ

   RYHUWKRXVDQGVRIVZDUPLQJ]RPELHV$OW&HOW ,/ DGGHGD³FU\LQJODXJKLQJ´HPRMLDQGZURWH

   ³7KLVZLOOEHXV´
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   'HHUH¶VQHZPXOWLODQHSURWHVWRUGLJHVWRU´DQGFRPPHQWHG³,NQRZ1&ODZLVRQWKHERRNVWKDW

   GULYLQJRYHUSURWHVWHUVEORFNLQJURDGZD\LVQ¶WDQRIIHQVH«6XUHZRXOGEHQLFH´




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             2QWKHVDPHGD\ -XO\ 7\URQHDVNHGWKHYLUJLQLDBODZVFKDQQHO³Is it

   legal to run over protestors blocking roadways? I’m NOT just shitposting. I would like

   clarification. I know it’s legal in NC and a few other states. I’m legitimately curious for the

   answer.´7ZRSDUWLFLSDQWVUHDFWHGWRWKLVSRVWZLWKUHGKHDUWHPRMLV

             $QRWKHUFRFRQVSLUDWRURQ'LVFRUGXVLQJWKHYLUJLQLDBODZVFKDQQHOSRVWHGD

   SKRWRRIDQDUPRUHGPLOLWDU\WDQNDQGZURWH³,VWKLVOHJDOLQ9$"´(OHYHQSDUWLFLSDQWV

   UHVSRQGHGZLWKHPRMLVH[SUHVVLQJDSSURYDO

             6LPLODUO\ZKHQ'HIHQGDQW.HVVOHUDVNHGWKHGHPRQVWUDWLRQBWDFWLFVFKDQQHOIRU

   DGYLFHRQSODQQLQJDPDUFKRQHFRFRQVSLUDWRU³3ULPLWYH;DRF´HQFRXUDJHGWKHXVHRI

   VLGHZDONVEHFDXVH³VWUDLJKWWKURXJKWKHVWUHHWVOLNHWKH\GLGDIHZZHHNVDJRIRUWKHµFRPPXQLW\

   GHIHQVH¶0DUFKZDVDZIXO $QWLID ´+HSRVWHGVHYHUDOSKRWRVIURPWKDWPDUFKDQGZURWH

   ³7KHVHIRROVKDGEDELHVDQGFKLOGUHQLQWKHVWUHHWVGUDJJLQJEDQQHUVRYHUFDUVEORFNLQJWKHLU


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   YLHZDQGVXFK7RREDGWKHFLYLOLDQVGLGQ¶WMXVWPDNHQHZVSHHGEXPSVIRUVRPHRIWKHVH

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   DVKDPHGRI&YLOOH7KLVLV\RXUIXWXUH7KLVLVWKHHQHP\´

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   /R\DO:KLWH.QLJKWVVDLG³,¶PVRUWDJODGWKDWWKHPSHRSOHJRWKLWDQG,¶PJODGWKDWJLUOGLHG

   7KH\ZHUHDEXQFKRI&RPPXQLVWVRXWWKHUHSURWHVWLQJDJDLQVWVRPHERG\¶VIUHHGRPRIVSHHFK

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   VRLWGRHVQ¶WERWKHUPHWKDWWKH\JRWKXUWDWDOO´'HIHQGDQW/R\DO:KLWH.QLJKWVDOVRFKDQJHG

   WKHLURXWJRLQJYRLFHPDLOPHVVDJHWRVD\³1RWKLQJPDNHVXVPRUHSURXGDWWKH...WKDQZH

   VHHZKLWHSDWULRWVVXFKDV-DPHV)LHOGV-UDJHWDNLQJKLVFDUDQGUXQQLQJRYHUQLQH

   FRPPXQLVWDQWLIDVFLVWNLOOLQJRQHQLJJHUORYHUQDPHG+HDWKHU+H\HU-DPHV)LHOGVKDLO

   YLFWRU\,W¶VPHQOLNH\RXWKDWKDYHPDGHWKHJUHDWZKLWHUDFHVWURQJDQGZLOOEHVWURQJDJDLQ´

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   KXJHPRUDOYLFWRU\´'HIHQGDQW&DQWZHOOWROGDViceUHSRUWHU³,¶GVD\LWZDVZRUWKLW1RERG\

   RQRXUVLGHGLHGQRQHRIRXUSHRSOHNLOOHGDQ\ERG\XQMXVWO\RXUULYDOVDUHMXVWDEXQFKRI

   VWXSLGDQLPDOVZKRGRQ¶WSD\DWWHQWLRQWKDWFRXOGQ¶WMXVWJHWRXWRIWKHZD\RIWKHFDU´

   6SHDNLQJRIFRXQWHUSURWHVWHUVOLNH3ODLQWLIIVKHVDLG³7KHVHSHRSOHZDQWYLROHQFHDQGWKHULJKW

   LVMXVWPHHWLQJPDUNHWGHPDQG´

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   UHFHLYHGWKUHHPRUHSKRQHFDOOVIURPWKHVDPH.ODQVPDQZKRKDGKDUDVVHGKHULQ-XO\2Q

   WKHVHSKRQHFDOOVWKHPDQH[SODLQHGWKDWKHZDVWU\LQJWRVHOOVLOYHU'RGJH&KDOOHQJHUV²WKH

   FRORUPDNHDQGPRGHOXVHGE\'HIHQGDQWV)LHOGVLQKLVFDUDWWDFN²LQ&KDUORWWHVYLOOH)LYH

   PLQXWHVDIWHU5RPHURKXQJXSKHFDOOHGDJDLQZLWKWKHVDPHIRUHERGLQJSLWFK

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   FDOOHUVDLG³'RQ¶W\RXKDWHLWZKHQWKHUHDUHUDQGRPSHGHVWULDQVEORFNLQJWKHURDGDQGVKLWOLNH

   WKDW"7KHUHZDVRQHJLUOQDPHG1DWDOLH5RPHURVKHJRWFDXJKWLQWKHDFFLGHQW"6KHVKRXOG

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   LGHQWLILHGZKRKDGEHHQLQMXUHGDQGZKRDPRQJWKRVH³PHPEHUVRI$QWLID´ZHUH³NQRZQWREH

   YLROHQW´1RQHRIWKH3ODLQWLIIVZHUHLGHQWLILHGRQWKHOLVWDVDPRQJWKRVH³NQRZQWREH

   YLROHQW´7KHOLVWZDVFUHDWHGE\DIRUPHUPHPEHURI'HIHQGDQW,GHQWLW\(YURSDZKRWKHQ

   MRLQHG9DQJXDUG$PHULFDLQ-XO\DQGEHFDPHDQDFWLYHSDUWLFLSDQWRQLWV6RXWKHUQ)URQW

   'LVFRUGVHUYHUEUDJJLQJ³,UHDOO\FDQKHOSWUDFNPRVW$QWLID´DQG³>P@\LQIRLVJRRGDQG,ZLOO

   GRHYHU\WKLQJ,FDQWRKHOS9$>9DQJXDUG$PHULFD@´

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   QHR1D]LVDQGZKLWHVXSUHPDFLVWVPDQ\RIZKRPKDYHEHHQNLFNHGRIIRIWUDGLWLRQDOVRFLDO

   PHGLDSODWIRUPVVKDUHDQGSRVWLQIRUPDWLRQ2Q*DEDWOHDVWRQHGLVWULEXWLRQRIWKHSXUSRUWHG

   ³$QWLID´OLVWZDVGLUHFWHGWR'HIHQGDQW&DQWZHOODPRQJRWKHUV

   ,,,        'HIHQGDQWV¶$FWLRQV+DYH&DXVHGDQG:LOO&RQWLQXHWR&DXVH'DPDJHWR3ODLQWLIIV

   $           7KH8QODZIXO$FWV%\'HIHQGDQWV&R&RQVSLUDWRUVDQG2WKHUV
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   $XJXVWDQGOHIWDQLQGHOLEOHPDUNRQ3ODLQWLIIV&KDUORWWHVYLOOHDQGWKHUHVWRIWKHFRXQWU\

   7KUHHLQQRFHQWSHRSOHORVWWKHLUOLYHVDSHDFHIXOSURWHVWRU+HDWKHU+H\HUDQGWZRVWDWHODZ

   HQIRUFHPHQWRIILFHUV/LHXWHQDQW+-D\&XOOHQDQG7URRSHU3LORW%HUNH00%DWHV$WOHDVW

   LQGLYLGXDOVLQFOXGLQJ3ODLQWLIIVZHUHLQMXUHGDQGFRXQWOHVVRWKHUVZHUHYLFWLPVRIDVVDXOW

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   $WWRUQH\*HQHUDO-HII6HVVLRQVDQG6HQDWRUV&RU\*DUGQHU7HG&UX]DQG5RQ:\GHQKDYH

   UHFRJQL]HGWKDWWKH8QLWHWKH5LJKW³UDOO\JRHUV´ZHUHPRWLYDWHGE\UDFLVP[HQRSKRELDDQGDQWL

   6HPLWLVPWKDWWKH³UDOO\JRHUV´HQJDJHGLQKDWHEDVHGYLROHQFHDQGWKDWWKHHYHQWVWKDWXQIROGHG

   ZHUHSURSHUO\FKDUDFWHUL]HGDVGRPHVWLFWHUURULVP

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   UHVROXWLRQ³UHMHFWLQJZKLWHQDWLRQDOLVWVZKLWHVXSUHPDFLVWVWKH.X.OX[.ODQQHR1D]LVDQG

   RWKHUKDWHJURXSV´UHFRJQL]LQJWKDWWKH\HQJDJHGLQD³KRUULILFDQGYLROHQWGLVSOD\RIELJRWU\´LQ

   &KDUORWWHVYLOOHDQGFRQGHPQLQJ³WKHYLROHQFHDQGGRPHVWLFWHUURULVWDWWDFNWKDWWRRNSODFH

   GXULQJHYHQWVEHWZHHQ$XJXVWDQG$XJXVW´

             7KHMRLQWUHVROXWLRQDOVRGRFXPHQWHGWKDWWKHKDWHEDVHGJURXSVDUH³RUJDQL]LQJ

   VLPLODUHYHQWV´DURXQGWKHFRXQWU\DQGXUJHGWKH3UHVLGHQWWR³VSHDNRXWDJDLQVWKDWHJURXSVWKDW

   HVSRXVHUDFLVPH[WUHPLVP[HQRSKRELDDQWL6HPLWLVPDQGZKLWHVXSUHPDF\´DQGDGGUHVV³WKH

   WKUHDWVSRVHGE\WKRVHJURXSV´ZKLFKDUHFXUUHQWO\JURZLQJZLWKLQWKH8QLWHG6WDWHV

             3UHVLGHQW7UXPSVLJQHGWKHUHVROXWLRQDQGLVVXHGDVLJQLQJVWDWHPHQW³RSSRV>LQJ@

   KDWUHGELJRWU\DQGUDFLVPLQDOOIRUPV´

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   FDXVHGE\WKHWUDXPDRIWKHHYHQWVRI$XJXVWDQG)RXUGD\VDIWHUWKH³UDOO\´RQ7XHVGD\

   $XJXVW0DJLOOFROODSVHGDW89$OLEUDU\+HEHJDQORVLQJKLVYLVLRQDQGVSHHFKDQGFRXOG




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   EDUHO\VSHDNZRUGVWRWHOOVRPHRQHWRFDOODQDPEXODQFH7KDQNIXOO\KHZDVDEOHWRPRWLRQWR

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   GRFWRUVIRXQGWKDWKLVFDURWLGDUWHU\KDGWRUQDQGWZREORRGFORWVZHUHUHOHDVHGWRKLVEUDLQ

   FDXVLQJDVWURNH0HGLFDOSURIHVVLRQDOVPDLQWDLQWKDW0DJLOO¶VVWURNHZDVDUHVXOWRIWUDXPDWR

   KLVQHFNDVDUHVXOWRIWKHHYHQWVGXULQJWKHZHHNHQG

             0DJLOOVSHQWWZRGD\VLQWKHKRVSLWDODQGDFFRUGLQJWRPHGLFDOSURIHVVLRQDOVZLOO

   QHYHUIXOO\UHFRYHUIURPWKHUHVXOWLQJEUDLQLQMXULHV+HKDVORVWDVSHFWVRIKLVYLVLRQDQGVSHHFK

   DQGKDVGLIILFXOW\ZULWLQJDQGUHDGLQJIRUORQJSHULRGVRIWLPH+HKDVLQFXUUHGVLJQLILFDQW

   PHGLFDOH[SHQVHVDQGZLOOFRQWLQXHWRGRVR+HZLOOQHHGFRQWLQXHGPHGLFDOFDUH0DJLOOKDV

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   VKDWWHUHGWLELDLQKLVOHIWOHJDIUDFWXUHGDQNOHDQGVLJQLILFDQWOLJDPHQWGDPDJH+HXQGHUZHQW

   VXUJHU\DQGKDGWZRVFUHZVSODFHGLQKLVDQNOH+HH[SHULHQFHGVZHOOLQJLQERWKDQNOHVDQGKH

   FRXOGQRWZDONIRURUGD\V+HKDVEHHQWROGWRH[SHFWVZHOOLQJLQKLVOHIWDQNOHIRUDWOHDVWD

   \HDU'XHWRWKHQDWXUHRIKLVMREKHZLOOQRWEHDEOHWRZRUNIRUDWOHDVWPRQWKV+HKDV

   VXIIHUHGVHYHUHHPRWLRQDOGLVWUHVVWKDWLQFOXGHVKDYLQJPHQWDOIODVKEDFNVWRWKHHYHQWVRIWKH

   ³UDOO\´0DUWLQLVJRLQJWRPHQWDOFRXQVHOLQJWZLFHDZHHNWRVHHNVXSSRUWIRUKLVHPRWLRQDO

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   VKDNLQJDQGFU\LQJXQFRQWUROODEO\DWWLPHV7RWKLVGD\VKHKDVWURXEOHIRFXVLQJLQFOXGLQJDW

   ZRUNDQGILQGVKHUVHOIRIWHQXQFKDUDFWHULVWLFDOO\DQJU\6KHLVVFDUHGRI'RGJHFKDOOHQJHUVDQG

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   FDQQRWZDONE\WKHORFDWLRQRIWKHDWWDFN

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   WRUFKOLJKWUDOO\5RPHURH[SHULHQFHGEXUQLQJLQKHUH\HVDQGRQKHUVKRXOGHUVDQGWKHIHDUDQG

   DQ[LHW\VKHIHOWWKDWQLJKWSUHYHQWHGKHUIURPVOHHSLQJ7KHFDUDWWDFNWKHIROORZLQJGD\OHIW

   5RPHURZLWKVHYHUHSK\VLFDOLQMXULHVDQGHPRWLRQDOWUDXPD5RPHURVXIIHUHGDVNXOOIUDFWXUH

   FRQFXVVLRQVHYHUHFRQWXVLRQVDIUDFWXUHGWRRWKDQGVFUDWFKHVDOORYHUKHUERG\6KHVXIIHUV

   IURPVHYHUHYHUWLJRDQGH[SHULHQFHVGHELOLWDWLQJKHDGDFKHVWKDWSUHYHQWKHUIURPOHDYLQJWKH

   KRXVH6KHDOVRFDQQRWEHH[SRVHGWREULJKWOLJKWRUORRNDWZKLWHSDSHUZLWKRXWH[SHULHQFLQJ

   SDLQ+HUGRFWRUVDUHXQVXUHRIZKHQWKHVHV\PSWRPVZLOOVXEVLGH,QDGGLWLRQWRKHUSK\VLFDO

   LQMXULHV5RPHURVXIIHUHGVHYHUHHPRWLRQDOWUDXPDDVDUHVXOWRIWKHWRUFKOLJKWUDOO\DQGFDU

   DWWDFN5RPHURGLGQRWUHWXUQWRFDPSXVIRUFODVVHVWKLVIDOOEHFDXVHRIDQ[LHW\DQGIHDU

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   GLIILFXOW\SURFHVVLQJFRQYHUVDWLRQV,QDGGLWLRQWRKHUSK\VLFDOLQMXULHVWKHFDUDWWDFNDOVROHIW

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   SURVFULEHGZLWKVOHHSPHGLFDWLRQDQGGLDJQRVHGZLWKDFXWHVWUHVVGLVRUGHU:LVSHOZH\KDVDOVR

   EHFRPHK\SHUYLJLODQWHVSHFLDOO\LQFURZGV

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   $XJXVW0XxL]KDVVXIIHUHGVHYHUHHPRWLRQDOLQMXU\)RUWKHILUVWZHHNIROORZLQJWKHDWWDFN

   0XxL]FRXOGQRWGULYHDFDU6KHZDVDIUDLGHYHQWREHDSDVVHQJHUZLWKRXWFRYHULQJKHUOHIW

   H\HEHFDXVHWKHVLJKWRIRQFRPLQJWUDIILFZDVWHUULI\LQJ0XxL]KDVVLQFHH[SHULHQFHG

   WULJJHUV²PRPHQWVZKHUHVKHUHOLYHVWKHIHDURIWKDWGD\DQGVKHVKDNHVDQGWUHPEOHV6KHKDV

   VXIIHUHGDIHZHSLVRGHVLQZKLFKVKHKDVIDOOHQWRWKHJURXQGLQDFDWDWRQLFVWDWHDQGFDQGR

   QRWKLQJEXWFU\DQGGURROIRUORQJSHULRGV6KHKDVEHHQVOHHSLQJHUUDWLFDOO\KDVVXIIHUHGVKRUW

   WHUPPHPRU\LVVXHVDQGKDVEHFRPHVRFLDOO\ZLWKGUDZQ6KHKDVEHHQXQDEOHWRREWDLQPHGLFDO

   FDUHIRURWKHUFRQGLWLRQVGXHWRKHUVWUHVVVRVKHFRQWLQXHVWRVXIIHUIURPRWKHUDLOPHQWV6KHLV

   VHHLQJDWKHUDSLVWPXOWLSOHWLPHVSHUZHHNDQGKDVVWDUWHGWKHUDS\IRUSRVWWUDXPDWLFVWUHVV$W

   ZRUN0XxL]XVHGWRPDQDJHDGHSDUWPHQWRIDURXQGWZHQW\SHRSOHZLWKWZRPDQDJHUVEHQHDWK

   KHU

              8QDEOHWRUHWXUQWRZRUN0XxL]ZDVRQOHDYHIRUGLVDELOLW\GXULQJZKLFKWLPHVKH

   ZDVSDLGRIKHUSD\DQGKDVORVWRWKHUILQDQFLDOEHQHILWVVXFKDVWXLWLRQUHLPEXUVHPHQW

   6KHUHWXUQHGWRZRUNRQDUHGXFHGVFKHGXOHRQ1RYHPEHUEXWKHUFRPSDQ\PDGHDGHFLVLRQ

   WKDWVKHLVQRWFDSDEOHRIGRLQJWKDWMREDQ\PRUHVRVKHZDVSODFHGLQDQHZUROHZLWKOHVV

   UHVSRQVLELOLW\0HGLFDOSURIHVVLRQDOVKDYHGLDJQRVHG0XxL]ZLWKDFXWHVWUHVVGLVRUGHU0XxL]

   UHWXUQHGWRZRUNIXOOWLPHRQ-DQXDU\DOWKRXJKLQKHUQHZUROHZLWKOHVVUHVSRQVLELOLW\6KHLV

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   DVVDXOWHG-RKQ'RHKDVVXIIHUHGQXPHURXVHPRWLRQDOLQMXULHV+HKDVKDGGLIILFXOW\IRFXVLQJLQ

   VFKRRODQGLVFRQVWDQWO\UHFDOOLQJWKHWUDXPDRI)ULGD\HYHQLQJ:KHQKHZDONVSDVWWKH7KRPDV

   -HIIHUVRQVWDWXHRQKLVFDPSXVKHLVLPPHGLDWHO\WULJJHUHGE\WKHUHFROOHFWLRQRIWKHHYHQWVRQ

   $XJXVW6LQFHWKH³UDOO\´-RKQ'RHKDVKDGGLIILFXOW\VOHHSLQJDQGKDVGHYHORSHGD

   KHLJKWHQHGDQ[LRXVVHQVHRIDZDUHQHVVLQSXEOLFVSDFHV-RKQ'RHDOVRKDGWRPLVVWZRZHHNV

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             3ODLQWLII6LQHV8SRQZLWQHVVLQJWKHFDUDWWDFNDQGQHDUO\EHLQJKLW6LQHV

   VXIIHUHGH[WUHPHHPRWLRQDOGLVWUHVVDQGVKRFN6KHRIWHQZDNHVXSZLWKQLJKWPDUHVRIWKHFDU

   DWWDFNDQGKHUDFDGHPLFSHUIRUPDQFHKDVVXIIHUHGLQODZVFKRRODVDUHVXOW6LQHVLVXQDEOHWR

   IRFXVDQGKDVPLVVHGFODVVHVGXHWRKHUHPRWLRQDOGLVWUHVV6LQHVLVDOVRQRZK\SHUYLJLODQW

   DQGDIUDLGLQKHURZQKRPH

             3ODLQWLII3HDUFH,QDGGLWLRQWRWKHSK\VLFDODQGYHUEDOUHOLJLRXVEDVHGDVVDXOW

   3HDUFHH[SHULHQFHGRQ$XJXVWVKHFRQWLQXHVWRVXIIHUVHULRXVHPRWLRQDOGLVWUHVV,QKLV

   +HEUHZVFKRROFODVV3HDUFH¶VVRQZDVDVNHGWRDQVZHUVHYHUDOZULWLQJSURPSWV,QUHVSRQVHWR

   WKHTXHVWLRQ³ZKDWPDNHVPHXQFRPIRUWDEOHDERXWEHLQJ-HZLVK´KHZURWH³QHR1D]LV´




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   3HDUFH¶VV\QDJRJXH%HWK,VUDHOKDVDGRSWHGDQHZHODERUDWHVHFXULW\SURWRFROWKDWOLPLWV

   SDUHQWV¶DELOLW\WRSLFNXSWKHLUFKLOGUHQIURP+HEUHZVFKRRO:KHUHDVSULRUWR$XJXVW

   VWXGHQWSLFNXSZDVDUHOD[HGMR\IXOSURFHVVGXULQJZKLFKSDUHQWVZRXOGFKDWDQGFKLOGUHQ

   ZRXOGSOD\SDUHQWVPXVWQRZHQWHUDFRGHWRDORFNHGVHFXUHGRRUDIWHUZKLFKWKH\DUH

   SHUPLWWHGWRZDLWTXLHWO\LQVLGHWKHGRRUIRUWKHLUFKLOGWREHUHWULHYHG0RUHRYHU3ODLQWLII

   3HDUFHLVQRZDIUDLGIRUKHUVDIHW\DQGIRUWKHVDIHW\RIKHUIDPLO\DWWKH6\QDJRJXH$QGVLQFH



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   WKHDWWDFNVKHKDVKDGWRH[SODLQWRKHUVRQZK\WKHUHDUHDOZD\VSROLFHRIILFHUVVWDQGLQJJXDUG

   RXWVLGHWKHV\QDJRJXH

   %      'HIHQGDQWV:LOO&RQWLQXHWR&DXVH9LROHQFHDQG,QWLPLGDWLRQ8QOHVV5HVWUDLQHG
            ³:H:LOO%H%DFN´

             ,QWKHZHHNVDIWHUWKH³UDOO\´DQGWKHPDVVRILQMXULHVLQ&KDUORWWHVYLOOH

   'HIHQGDQWVQRWRQO\FODLPHG³YLFWRU\´EXWVZRUHWKDWWKH\ZRXOGUHWXUQ$OUHDG\WKH\KDYH

   IROORZHGWKURXJKRQWKHLUSURPLVH

             'HIHQGDQW6SHQFHUVDLG³7R0D\RU0LNH6LJQHUDQG:HV%HOODP\DQGDOOWKHVH

   OLWWOHFUHHSVRIWKLVOLWWOHWRZQZKRGRQ¶WXQGHUVWDQGZKRWKH\¶UHGHDOLQJZLWK²WKHORFDOOLWWOH

   ORVHUV²ZHDUHQHYHUEDFNLQJGRZQ:HDUHJRLQJWREHEDFN´

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   6WRUPHU@VLWHZLOOEHVKXWGRZQ<RXVKRXOGNQRZEHWWHU,W¶VJRLQJWRWDNHEXOOHWVWRVWRS

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   LVDWDVWHRIKRZLWIHHOVWREHWKHWLSRIWKHVSHDUHQWHULQJRXUFLYLOL]DWLRQDOFULVLV´$IHZGD\V

   ODWHUKHWZHHWHG³,I\RXZHUHWKHUHLQ&KDUORWWHVYLOOH\RX¶UHDPXVHGDWWKHSURQRXQFHPHQWV

   RIWKH$OW5LJKW¶VGHDWK:HDUHRQO\MXVWEHJLQQLQJ´

             ³7KHUH¶VQRZD\LQKHOO,¶PQRWJRLQJEDFNWR&KDUORWWHVYLOOH´'HIHQGDQW

   6SHQFHUGHFODUHGDWDSUHVVFRQIHUHQFHZLWK'HIHQGDQW'DPLJR'HIHQGDQW0RVOH\WROGWKH

   +XIILQJWRQ3RVW³2XUSHRSOHDUHIHHOLQJUHDOJRRGULJKWQRZ«7KLVGD\ZDVDPLOHVWRQH

   SXVKLQJXVLQWRRXUQH[WVWDJH:HKDGDODUJHWXUQRXW:H¶UHFRPLQJEDFNWR&KDUORWWHVYLOOH´

             7KH'DLO\6WRUPHUDOVRYRZHGWKDWLWZRXOGKROGVLPLODUHYHQWV³VRRQ´$SRVW

   RQWKHZHEVLWHUHDG³:HDUHJRLQJWRVWDUWGRLQJWKLVQRQVWRS$FURVVWKHFRXQWU\:HDUH


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   JRLQJWRJRELJJHUWKDQ&KDUORWWHVYLOOH:HDUHJRLQJWRJRKXJH´)XUWKHUPRUHLWWROGUHDGHUV

   WKDW³>Z@HDUHQRZDWZDU´DQGSURPLVHGWR³WDNHRYHUWKHFRXQWU\´

             'HIHQGDQW.HVVOHUSURPLVHG³:H¶UHJRLQJWRKDYHELJJHUDQGELJJHUHYHQWVLQ

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   ³UDOO\´'HIHQGDQW&DQWZHOOH[SODLQHG³,FDPHSUHWW\ZHOOSUHSDUHGIRUWKLVWKLQJWRGD\´ZKLOH

   SXOOLQJRXWWKUHHSLVWROVWZRVHPLDXWRPDWLFPDFKLQHJXQVDQGDNQLIH2IWKHQH[W³DOWULJKW

   SURWHVW´KHVDLG³LW¶VJRLQJWREHWRXJKWRWRSEXWZH¶UHXSWRWKHFKDOOHQJH,WKLQNDORW

   PRUHSHRSOHDUHJRLQJWRGLHEHIRUHZH¶UHGRQHKHUHIUDQNO\´

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             2QHZHHNDIWHUWKH8QLWHWKH5LJKW³UDOO\´5LFKDUG6SHQFHU¶VZHEVLWH9LQFHQW

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                              1RZZKDWKDSSHQVQH[W"2XUVLGHFHUWDLQO\LVQ¶WUHDG\IRU
                      PDVVDFWLRQ\HW$QGWKHUHDUHQRVWUHHWDFWLRQVSODQQHGIRUWKH
                      QHDUIXWXUH6WLOOWKHOLQHVKDYHEHHQGUDZQ7KLQNDERXWWKRVH
                      EUDYH \RXQJ PHQ DW &KDUORWWHVYLOOH  7KHUH LV QR JRLQJ EDFN IRU
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                      $QG RQO\ RQH JURXS RXW WKHUH KDV GUDZQ D OLQH LQ WKH FOD\ DQG
                      GHFLGHGWRPDNHDVWDQGIRUZKDWLVWKHLUVE\ELUWKE\EORRGDQG
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                      VXUUHQGHULQJ:H¶UHUHDG\WRFORVHUDQNVDQGILJKWIRUZKDWLVRXUV
                      3RVW&KDUORWWHVYLOOH RXU IOHHW OLHV DW WKH ERWWRP RI D GHHS DQG
                      WURXEOHGVHDDQGZHFDQRQO\PDUFKRQIRUZDUGOLNH&RUWH]RQFH
                      GLG$QGOLNHKLPZHVWDQGSRLVHGWRFRQTXHUWKHFRQWLQHQW

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   LQGLFDWHGWKDWLWZLOOSURFHHGQRQHWKHOHVV,WLVVFKHGXOHGWRRFFXURQ$XJXVWDQG

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   FRRUGLQDWLRQDQGSODQQLQJ'HIHQGDQWVKDYHVLQFHSURYLGHGPXWXDOVXSSRUWWRGHIUD\WKHFRVWV

   DVVRFLDWHGZLWKWKHLUXQODZIXOFRQGXFW

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   FURZGIXQGLQJRQZKLWHVXSUHPDFLVWVXSSRUWLYHVLWHV+DWUHRQDQG*R\)XQG0H&DQWZHOO¶V

   *R\)XQG0HSDJHVROLFLWHGGRQDWLRQVIRUWKH³-XVWLFH)XQG´DSHUVRQDOL]HGYHUVLRQRIWKH

   SRSXODUZKLWHVXSUHPDFLVWQXPHULFV\PERO³´7KH³´VWDQGVIRUWKH:RUGVVORJDQ

   ZKLFKLVWKHKHDUWRI&DQWZHOODQGKLVFRFRQVSLUDWRUV¶LGHRORJ\³:HPXVWVHFXUHWKHH[LVWHQFH

   RIRXUSHRSOHDQGDIXWXUHIRUZKLWHFKLOGUHQ´,QSODFHRIWKHXVXDO³´ZKLFKLVVKRUWKDQGIRU

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   KLVIXQGUDLVLQJE\GLVWULEXWLQJUHFRUGLQJVRISKRQHFDOOVIURPMDLOLQZKLFK&DQWZHOOPDNHVSOHDV

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   ZLWK'HIHQGDQW6SHQFHURQ³5HG,FH79´WRVROLFLWGRQDWLRQV

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   LQSURPRWHDQGLQFLWHUDFLDOUHOLJLRXVDQGHWKQLFLW\EDVHGKDUDVVPHQWDQGYLROHQFH7KH\GLG

   VRWKURXJKDPRQJRWKHUWKLQJVXVLQJDQGHQFRXUDJLQJWKHXVHRIZHDSRQVDQGFDXVWLF

   VXEVWDQFHVPLOLWDU\VW\OHPDUFKHVEXUQLQJWRUFKHVLQWLPLGDWLQJLFRQRJUDSK\DQGWKUHDWVRI

   YLROHQFH7KH\GLGVRLQRUGHUWR D LQMXUHEODFNDQG-HZLVKUHVLGHQWVRI9LUJLQLDE\GHQ\LQJ

   WKHPWKHHTXDOSULYLOHJHVDQGLPPXQLWLHVRIFLWL]HQVKLSDQGWKHXVHEHQHILWVDQGSULYLOHJHVRI

   SURSHUW\DQGRUFRQWUDFWXDOUHODWLRQVKLSV E IXUWKHU'HIHQGDQWV¶FDXVHRIUHFUXLWLQJQHZ

   IROORZHUVWRHQJDJHLQUDFLDOUHOLJLRXVDQGHWKQLFDOO\PRWLYDWHGYLROHQFHUHIHUHQFHGDERYHERWK

   DWWKH8QLWHWKH5LJKW³UDOO\´DQGLQWKHIXWXUHDQG F FRPSHOWKHFLW\RI&KDUORWWHVYLOOHWR

   PDLQWDLQWKHVWDWXHRI5REHUW(/HHLQ(PDQFLSDWLRQ3DUNDVDPHDQVRIIXUWKHULQJWKHLU

   DIRUHPHQWLRQHGJRDOV

             $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI'HIHQGDQW)LHOGVRQEHKDOIRIWKHPVHOYHV

   RUWKHRUJDQL]DWLRQVIRUZKLFKWKH\DUHDJHQWVSODQQHGDQGFRRUGLQDWHGWKH8QLWHWKH5LJKW

   ³UDOO\´HQFRXUDJHGDWWHQGDQFHDFWLYHO\RUJDQL]HGIROORZHUVWRDWWHQGFRRUGLQDWHGORJLVWLFDO

   VXSSRUWWRDWWHQGHHVSURPRWHGWKH³UDOO\´DVYLROHQWDQGHQFRXUDJHGDWWHQGHHVWRSUHSDUHIRU

   DQGFRPPLWYLROHQWDFWV

             $PRQJRWKHUWKLQJVWKH\XVHGRQOLQHDQGPHGLDSODWIRUPVWRHQFRXUDJH

   DWWHQGDQFHDWWKH8QLWHWKH5LJKW³UDOO\´WRGLVFXVVDQGSURPRWHFDXVLQJKDUPWR-HZLVKSHRSOH

   DQGSHRSOHRIFRORUDQGWRSURPRWHYLROHQFH



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   DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQIRUWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV&DQWZHOODQG.HVVOHUPHWLQSHUVRQLQ&KDUORWWHVYLOOHWRSODQ

   XQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQIRUWKH8QLWHWKH5LJKW

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             'HIHQGDQWV5D\&DQWZHOODQG0RVOH\DQGFRFRQVSLUDWRU'DYLG'XNHDWWHQGHG

   DQLQSHUVRQSODQQLQJPHHWLQJRQ$XJXVWWRSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQG

   GHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV$QJOLQDQG5D\ XVLQJDPRQJRWKHUWKLQJV'DLO\6WRUPHU¶VZHEVLWH 

   +LOODQG(DVW&RDVW.QLJKWVRUJDQL]HGDQGFDXVHGRWKHUVWRDWWHQGWKH8QLWHWKH5LJKWHYHQWV

   DQGFRPPLWDFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQ

             'HIHQGDQWV1DWLRQDOLVW)URQW1607:3/HDJXHRIWKH6RXWK9DQJXDUG

   $PHULFD(DVW&RDVW.QLJKWVDQG³RWKHUDOOLHV´FRRUGLQDWHGWKHLUDWWHQGDQFHDVD³MRLQW

   RSHUDWLRQ´LQDGYDQFHRI$XJXVWLQRUGHUWRSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQG

   GHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQW'DPLJRDQGKLVJURXS,GHQWLW\(YURSDWRRNDOHDGUROHLQRUJDQL]LQJ

   ZKLWHVXSUHPDFLVWSDUWLFLSDWLRQDPRQJSHRSOHIURPRXWVLGH&KDUORWWHVYLOOHWRHQJDJHLQXQODZIXO

   DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

             'HIHQGDQWV.HVVOHUDQG0RVOH\RUJDQL]HGWKH³UDOO\´DQGFRRUGLQDWHGORJLVWLFV

   DORQJZLWKFRFRQVSLUDWRU7\URQHIRUDWWHQGHHVRQ$XJXVWLQ&KDUORWWHVYLOOHVRWKDWWKH\

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   &KDUORWWHVYLOOHGLVFXVVLRQIRUXPRQWKHDSSOLFDWLRQQDPHG'LVFRUGWRGLUHFWDQGSODQXQODZIXO

   DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

   $ORQJZLWK.HVVOHUDQG0RVOH\'HIHQGDQWV+HLPEDFK3DUURWW&DQWZHOO5D\DQDJHQWRI'DLO\

   6WRUPHU DQGKHQFH'HIHQGDQWV$QJOLQDQG0RRQEDVH+ROGLQJV DQGFRFRQVSLUDWRU7\URQH

   ZHUHDOOSDUWLFLSDQWVLQ'LVFRUGDQGLQWKHGLUHFWLRQSODQQLQJDQGLQFLWLQJRIVXFKXQODZIXODFWV

   WKURXJK'LVFRUGLQFOXGLQJWKHXVHRIZHDSRQVDQGREMHFWVWRLQIOLFWKDUPDQGLQWLPLGDWH

   'HIHQGDQWV9DQJXDUG$PHULFD,GHQWLW\(YURSD7:3/HDJXHRIWKH6RXWKDQG0RRQEDVH

   +ROGLQJV WKURXJK'DLO\6WRUPHU DOOKDGPHPEHUVRQWKH'LVFRUGFKDQQHO

             'HIHQGDQWV&DQWZHOO5D\DQG$QJOLQDPRQJRWKHUVDGYLVHGUDOO\JRHUVRQ

   EULQJLQJZHDSRQV

             8VLQJ'LVFRUG'HIHQGDQWV.HVVOHUDQG0RVOH\VHWXSDFKDQQHOIRUFR

   FRQVSLUDWRUVWRFRRUGLQDWHXQODZIXODFWVDWWKH8QLWHWKH5LJKWHYHQWVLQFOXGLQJDFWVRIYLROHQFH

   LQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQ

             'HIHQGDQWV$QJOLQ5D\DQGWKURXJK'DLO\6WRUPHU0RRQEDVH+ROGLQJVVHWXS

   DFKDQQHOIRUFRFRQVSLUDWRUVWRFRRUGLQDWHXQODZIXODFWVLQFOXGLQJDFWVRIYLROHQFH

   LQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

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   XQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKW

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             'HIHQGDQWV3HLQRYLFK,QYLFWXV.HVVOHU6SHQFHU&DQWZHOO+HLPEDFKDQG+LOO

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  SODQQHGDQGRUJDQL]HGD³VHFUHW´WRUFKSDUDGHDW89$IRU$XJXVWZLWKDSODQDQGLQWHQWWR

  LQWLPLGDWHWKUHDWHQDQGKDUDVV&KDUORWWHVYLOOHUHVLGHQWVSDUWLFXODUO\-HZVEODFNVDQGRWKHU

  PLQRULW\UHVLGHQWV

            'HIHQGDQWV&DQWZHOO0RVOH\6SHQFHU.HVVOHU5D\DQG,QYLFWXVDWWHQGHGDQG

  SDUWLFLSDWHGLQWKHYLROHQW$XJXVWWRUFKSDUDGHDQGGLUHFWHGDQGLQFLWHGSK\VLFDODVVDXOWVDQG

  YLROHQFHWKHXVHRIRSHQIODPHVDQGWKHLQWLPLGDWLRQRIPLQRULW\UHVLGHQWVDQGWKRVHZKR

  DGYRFDWHIRUHTXDOULJKWVIRUPLQRULW\FLWL]HQV

            'HIHQGDQW&DQWZHOODVVDXOWHGSHDFHIXOSURWHVWRUVZLWKPDFHDFDXVWLFVXEVWDQFH

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  SURWHVWRUVDQGPLQRULW\UHVLGHQWVDQGLQFLWHGDQGHQJDJHGLQYLROHQFH'HIHQGDQW)LHOGV

  DWWHQGHGZLWK9DQJXDUG$PHULFDZHDULQJWKHXQLIRUPZKLWHSRORDQGNKDNLVDQGFDUU\LQJD

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            'HIHQGDQW)LHOGVGHOLEHUDWHO\GURYHKLV'RGJH&KDOOHQJHULQWRDFURZGRI

  SHDFHIXOSURWHVWRUVRQ$XJXVWLQWHQGLQJWRLQVWLOOIHDULQWKHFRPPXQLW\DQGWRFDXVHLQMXULHV

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            ,QIXUWKHUDQFHRIDFRQVSLUDF\WRYLRODWHWKHULJKWVRI3ODLQWLIIVDQGRWKHUEODFN

  DQG-HZLVKSHRSOHDQGWKHLUVXSSRUWHUV'HIHQGDQWVUHSHDWHGO\HQJDJHGLQFDPSDLJQVRI

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            'HIHQGDQWVKDYHFRPPLWWHGQXPHURXVRYHUWDFWVLQIXUWKHUDQFHRIWKHFRQVSLUDF\

  WRYLRODWH3ODLQWLIIV¶ULJKWVZKLFKDUHVHWIRUWKLQWKHSDUDJUDSKVDERYH'HIHQGDQWVKDYHVRXJKW

  WRFUHDWHDQDWPRVSKHUHRIYLROHQFHDJDLQVW3ODLQWLIIVDQGWRYLRODWH3ODLQWLIIV¶HTXDOULJKWV

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            7KHLOOHJDODFWLYLWLHVGHVFULEHGZHUHXQGHUWDNHQE\'HIHQGDQWVWKHLUDJHQWVDQG

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  ZDVDQGLVWRGLVFULPLQDWRULO\GHSULYHEODFN-HZLVKQRQZKLWHLQGLYLGXDOVDQGWKHLUZKLWH

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  &RQVWLWXWLRQDQGODZVEHFDXVHRIWKHLUUDFHUHOLJLRQDQGRSHQDQGREYLRXVDGYRFDF\IRUWKH

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  GLVFULPLQDWRU\GHSULYDWLRQRIRQHRUPRUHRIWKHLUULJKWVRUSULYLOHJHVJXDUDQWHHGE\WKH

  &RQVWLWXWLRQRUODZVEHFDXVHRIRQHRUPRUHRIWKHLOOHJDORYHUWDFWVRI'HIHQGDQWVDQGWKHLU

  DJHQWV7KHVHULJKWVLQFOXGHEXWDUHQRWOLPLWHGWRWKHLUULJKWVWREHIUHHRIWKHEDGJHVDQG

  LQFLGHQWVRIVODYHU\SXUVXDQWWRWKH7KLUWHHQWK$PHQGPHQWDVZHOODVWKHLUULJKWVSURWHFWHGE\

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  QXPHURXVDQGYDULRXVLQMXULHVLQFOXGLQJERGLO\LQMXU\LQMXULHVWRSURSHUW\ORVWLQFRPHDQG

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  FRQVSLUDF\GHVFULEHGLQWKLVFRPSODLQWWKDWZDVSODQQHGDQGWKHQXQGHUWDNHQDJDLQVWWKHFODVVRI

  $PHULFDQFLWL]HQVGHVFULEHG²LQFOXGLQJDQXPEHURIWKH3ODLQWLIIVQDPHGKHUHLQ

            'HIHQGDQWVDVRUJDQL]HUVSODQQHUVSURPRWHUVDQGOHDGHUVRIWKHFRQVSLUDF\

  ZHUHHDFKLQDSRVLWLRQDQGKDGWKHSRZHUWRKDYHVWRSSHGWKHDQWLFLYLOULJKWVFRQVSLUDF\RUWR

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  LQMXULHVZKLFKRFFXUUHGWR3ODLQWLIIVRUWRRWKHUPHPEHUVRIWKHFODVVRIFLWL]HQVWDUJHWHGE\WKH

  DQWLFLYLOULJKWVFRQVSLUDF\GHVFULEHG

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  GHVFULEHGKHUHLQE\LQIRUPLQJWKHODZIXODXWKRULWLHVRURWKHUZLVHYLRODWHGWKHFRPPDQGRI

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  WRDFFRPSOLVKWKURXJKWKHFRQFHUWHGDFWLRQGHVFULEHGDERYHXQODZIXODQGWRUWLRXVDFWV

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                D 6XEMHFWLQJSHUVRQVWRDFWVRILQWLPLGDWLRQRUKDUDVVPHQWPRWLYDWHGE\UDFLDO

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                H 'LUHFWLQJLQFLWLQJRUVROLFLWLQJRWKHUSHUVRQVSDUWLFLSDWLQJLQDULRWWRDFWVRI

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  Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
  Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
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         ,IXUWKHUKHUHE\FHUWLI\WKDWRQ-DQXDU\,DOVRVHUYHGWKHIROORZLQJQRQ(&)

  SDUWLFLSDQWVYLD86PDLO)LUVW&ODVVDQGSRVWDJHSUHSDLGDGGUHVVHGDVIROORZV

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  /R\DO:KLWH.QLJKWVRIWKH.X.OX[.ODQ              $QGUHZ$QJOLQ
  DND/R\DO:KLWH.QLJKWV&KXUFKRIWKH              1+LJK6WUHHW6XLWH
  ,QYLVLEOH(PSLUH,QF                               :RUWKLQJWRQ2+
  FR&KULVDQG$PDQGD%DUNHU                          
  32%R[                                          (DVW&RDVW.QLJKWVRIWKH.X.OX[.ODQ
  3HOKDP1&                                     DND(DVW&RDVW.QLJKWVRIWKH7UXH
                                                       ,QYLVLEOH(PSLUH
  5LFKDUG6SHQFHU                                     6RXWK3LQH6W
  $.LQJ6WUHHW                                   5HG/LRQ3$
  $OH[DQGULD9$                                 
                                                       )UDWHUQDO2UGHURIWKH$OW.QLJKWV FR
  0LFKDHO3HLQRYLFK                                   3URXG%R\V 
  DND0LFKDHO³(QRFK´3HLQRYLFK                      FR/HJDO&RUS6ROXWLRQV//&
  32%R[                                          %URDGZD\6XLWH
  +RSHZHOO-XQFWLRQ1<                          1HZ<RUN1<
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  0RRQEDVH+ROGLQJV//&                               $XJXVWXV6RO,QYLFWXV
  FR$QGUHZ$QJOLQ                                    10LOOV$YHQXH
  1+LJK6WUHHW6XLWH                       2UODQGR)/
  :RUWKLQJWRQ2+
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                                                        s/ Robert T. Cahill
                                                        5REHUW7&DKLOO 96% 
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                                                        )UHHGRP'ULYHWK)ORRU
                                                        5HVWRQ9$
                                                        7HOHSKRQH  
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                                                        (PDLOUFDKLOO#FRROH\FRP
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